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Exhibit A
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COVER SHEET FOR FILING CIVIL ACTIONS

COMMONWEALTH OF VIRGINIA

Kollmorgen Corporation

PLAINTIFF(S)

(CLERK’S OFFICE USE ONLY)
Circuit Court

MICHAEL A. CAVALIERI, NOVANTA, INC.

DEFENDANT(S)

CELERA MOTION, A NOVANTA, INC. COMPANY

 

 

I, the undersigned [ ] plaintiff [ ] defendant [x] attorney for [x] plaintiff [ ] defendant hereby notify the Clerk of Court that I am filing
the following civil action. (Please indicate by checking box that most closely identifies the claim being asserted or relief sought.)

GENERAL CIVIL
Subsequent Actions
[ ] Claim Impleading Third Party Defendant
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Counterclaim
[ ] Monetary Damages
[ ] No Monetary Damages
[ ] Cross Claim
[ ] Interpleader
[ ] Reinstatement (other than divorce or
driving privileges)
[ ] Removal of Case to Federal Court
Business & Contract
[ ] Attachment
[ ] Confessed Judgment
[x] Contract Action
[x] Contract Specific Performance
[ ] Detinue
[ ] Garmishment
Property
[ ] Annexation
[ ] Condemnation
[ ] Ejectment
[ ] Encumber/Sell Real Estate
[ ] Enforce Vendor’s Lien
[ ] Escheatment
[ ] Establish Boundaries
[ ] Landlord/Tenant
[ ] Unlawful Detainer
[ ] Mechanics Lien ee
[ ] Partition
[ ] Quiet Title
[ ] Termination of Mineral Rights
Tort

ADMINISTRATIVE LAW

[ ] Appeal/Judicial Review of Decision of
(select one)
[ ] ABC Board
[ ] Board of Zoning
[ ] Compensation Board
{ ] DMV License Suspension
[ ] Employee Grievance Decision
[ ] Employment Commission
[ ] Local Government
[ ] Marine Resources Commission
[ ] School Board.
[ ] Voter Registration
[ ] Other Administrative Appeal

DOMESTIC/FAMILY

[ ] Adoption
[ ] Adoption — Foreign
[ ] Adult Protection
{ ] Annulment
[ ] Annulment — Counterclaim/Responsive
Pleading
[ ] Child Abuse and Neglect — Unfounded
Complaint
[ ] Civil Contempt
[ ] Divorce (select one)
{ ] Complaint — Contested*
[ ] Complaint — Uncontested*
[ ] Counterclaim/Responsive Pleading
[ ] Reinstatement —
Custody/Visitation/Support/Equitable
Distribution
[ ] Separate Maintenance
[ ] Separate Maintenance Counterclaim

[ ] Asbestos Litigation WRITS

[ ] Compromise Settlement [ ] Certiorari

[x] Intentional Tort [ ] Habeas Corpus
[ ] Medical Malpractice [ ] Mandamus

[ ] Motor Vehicle Tort

[ ] Product Liability

[ ] Wrongful Death

[ ] Other General Tort Liability

03/05/2019

DATE

 

Joshua R. Treece, Esq.

PRINT NAME

[ ] Prohibition
[ ] Quo Warranto

iiccaicivaiasucecascavaii are claimed.

PROBATE/WILLS AND TRUSTS

[ ] Accounting
[ ] Aid and Guidance
[ ] Appointment (select one)
[ ] Guardian/Conservator
[ ] Standby Guardian/Conservator
[ ] Custodian/Successor Custodian (UTMA)
[ ] Trust (select one)
[ ] Impress/Declare/Create
[ ] Reformation
[ ] Will (select one)
[ ] Construe
[ ] Contested

MISCELLANEOUS

[ ] Amend Death Certificate

[ ] Appointment (select one)
[ ] Church Trustee
[ ] Conservator of Peace
[ ] Marriage Celebrant

[ ] Approval of Transfer of Structured.
Settlement

[ ] Bond Forfeiture Appeal

[X] Declaratory Judgment

[ ] Declare Death

[ ] Driving Privileges (select one)
[ ] Reinstatement pursuant to § 46.2-427
[ ] Restoration — Habitual Offender or 34

Offense

[ ] Expungement

[ ] Firearms Rights — Restoration

[ ] Forfeiture of Property or Money

[ ] Freedom of Information

[x] Injunction

[ ] Interdiction

[ ] Interrogatory

[ ] Judgment Lien-Bill to Enforce

[ ] Law Enforcement/Public Official Petition

[ ] Name Change

[ ] Referendum Elections

[ ] Sever Order

[ ] Taxes (select one)
[ ] Correct Erroneous State/Local
[ ] Delinquent

[ ] Vehicle Confiscation

[ ] Voting Rights — Restoration

[ ] Other (please specify)

 

 

[ ] PLAINT!

bx ATTORNEY FOR

bd PLAINTIFF
[ ] DEFENDANT

 

*“Contested” divorce means any of the following matters are in
ADDRESS/TELEPHONE NUMBER OF SIGNATOR dispute: grounds of divorce, spousal support and maintenance,

Roanoke, VA 24011; 540-983-7730 child custody and/or visitation, child support, property distribution
~ i or debt allocation. An “Uncontested” divorce is filed on no fault
jteece@vwoodstogers.com grounds and none of the above issues are in dispute.
EMAIL ADDRESS OF SIGNATOR (OPTIONAL)

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Woods Rogers, PLC; 10 S. Jefferson St., Ste. 1400

 

 

 
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Civil Action Type Codes
(Clerk’s Office Use Only)
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Adoption — Foreign o...eececccssssscssssssssssssssssssscsssssssssesseeseeen FORA Enforce Vendor’s Lien ...........sssssssssssssssssssvssssssssesssets VEND
Adult Protection PROT Escheatment ESC
Aid and Guidance ....cesccsscssssscsssscssssscesssesssssseeneeeee AID Establish Boundaries 2.........cccccssssssssssssssssssssssssscsessssssee ESTB
Amend Death Certificate o.....ccccccccccsssssssssssssssssssssssssssseee ADC Expungement XPUN
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Annulment ANUL Freedom of Information .......cccccccccccssssssssesssssesssennen FOI
Annulment — Counterclaim/Responsive Pleading .. ACRP Garnishment GARN
Appeal/Judicial Review Injunction INJ
ABC Board ABC Intentional Tort ITOR
Board of Zoming ..0......ssssssseccsssssssssssssssssssssssssseeeeseees ZONE Interdiction INTD
Compensation Board ..........40.. +A COM Interpleader INTP
DMV License Suspension .....cccccsccooossssssessssssnessesesseere JR Tnterrogatory ccc ‘i INTR
Employment Commission ............... .... EMP Judgment Lien — Bill to Enforce oss LIEN
Employment Grievance Decision ..........0s0ss0000 GRV Landlord/Tenant LT
LOGal Government sccseicsessvesssnscesasnassmutsvasucsccccate Law Enforcement/Public Official Petition .............. LEP
Marine Resources ......ssssssssssssssssssssssssesesesssssssssssessseees Mechanics Lien wccccccccsscscscccsssssssssssssssssssssssssssessssee MECH
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Voter Registration .........csccscccssccccsssnneseseeeesssenesnusesees Motor Vebiicle Tort wn..ccccscsssssssssssssssssssssssssssssssssesseessesesen MV
Other Administrative Appeal Name Change NC
Appointment Other General Tort Liability wos GTOR
Conservator Of Peace .....cscssssssssssvsvvnmessssssssssssssssesecees COP Partition PART
Church Trustee Permit, Unconstitutional Grant/Denial by Locality LUC
Custodian/Successor Custodian (UTMA) ...... UTMA Petition — (Miscellaneous) ..........:ssssssssssssssssesssssssseeeee PET
Guardian/Comservator .......scccccccssssrssvssssssssssssesnssseees APPT Product Liability... ccccssssssssssssscssssssssssssssssssssessnseee PROD
Marriage Celebrant ..........csssssssssssssssessssesenesesseeen ROMC Quiet Title QT
Standby Guardian/Conservator ......ccsssssswsceeee: STND Referendum Elections ........sssccsscsssssssssssseessesnnsnnen ELEC
Approval of Transfer of Structured Settlement .............. SS Reinstatement (Other than divorce or driving
Asbestos Litigation AL privileges) REIN
Attachment ATT Removal of Case to Federal Court ........ccccccccc. REM
Bond Forfeiture Appeal 0........:.sssscsssssssssssssssssnssvorevsenesesenee BFA
Child Abuse and Neglect - Unfounded Complaint ..CAN Restore Firearms Rights — Review
Civil Contempt CCON Separate Maintenance ..uu.....ecssssssssssescscsesssnsesenssesessesseesen SEP
Claim Impleading Third Party Defendant — Separate Maintenance — Counterclaim/Responsive
Monetary Damages/No Monetary Damages ........... CTP Pleading .SCRP
Complaint — (Miscellaneous) ...........cscccssssssssssssssseees COM Sever Order .. SEVR
Compromise Settlement Sex Change Cos
Condemnation COND Taxes
Confessed Judgment CJ Correct Erroneous State/Local 000... CTAX
Contract Action CNTR Delinquent DTAX
Contract Specific Performance ..........c:s:ccsssccssusseneeseone PERF Termination of Mineral Rights 0.0.0... MIN
Counterclaim — Monetary Damages/No Monetary Trust — Impress/Declare/Create ....
Damages .........0004... CC Trust — Reformation
Cross Claim CROS Uniform Foreign Country Money Judgments ....... RFCJ
Declaratory Judgment .........cccccsssccsssssssssossssssssssssssssssessee DECL Unlawful Detainer
Declare Death DDTH Vehicle Confiscation o........cccccsssssssssssssssssssssssssssssssssssssen
Detinue DET Voting Rights — Restoration sa
Divorce Will Comstrurction ...cseeccccscsssssccssssssscssssnnensssnsesnnnnnseessees
Complaint — Contested/Uncontested 0.00.0... DIV Will Contested
Counterclaim/Responsive Pleading .......ccs0000 DCRP Writs
Reinstatement — Custody/Visitation/Support/ Certiorari wc
Equitable Distribution ...........:.cccsssssssssssssessooon CVS Habeas Corpus on-ceccsssssssssssssssssscssccccsssccesscesnnseeeeeees WHC
Driving Privileges Mandamus WM
Reinstatement pursuant to § 46.2-427 os... DRIV Prohibition WP
Restoration — Habitual Offender or QUO Woatiantte scscscicsiscassisstrccuusiiniepeassescissaesiticae WQW
3" Offense REST Wrongful Death WD

 

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VIRGINIA:

IN THE CIRCUIT COURT FOR THE CITY OF RADFORD

KOLLMORGEN CORPORATION,
Plaintiff,
V.
MICHAEL A. CAVALIERI,
Serve:
407 Heartwood Crossing
Blacksburg, VA 24060,
NOVANTA, INC.,
Serve: Secretary of the Commonwealth
1111 East Broad Street
4th Floor
Richmond, Virginia 23219
And

CELERA MOTION, A NOVANTA,
INC. COMPANY,

Serve: Secretary of the Commonwealth
1111 East Broad Street
4th Floor
Richmond, Virginia 23219

Defendants.

Nome Nome Ne Ne Ne Ne Ne Nee Nee ee Nee Nee” Ne Ne Nee Ne Ne Ne Ne Ne Ne Ne” Ne Ne Nee Nene ee” ee ee” ee”

No. C119 005003-00

JURY TRIAL DEMANDED

COMPLAINT

Plaintiff Kollmorgen Corporation (“Kollmorgen”), for its Complaint against Defendants

Michael A. Cavalieri (“Cavalieri”), Novanta, Inc. (“Novanta”), and Celera Motion, a Novanta, Inc.

Company (“Celera”) (collectively, “Defendants”), alleges as follows:

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PARTIES

1. Kollmorgen is a New York corporation with its principal place of business in
Radford, Virginia. Kollmorgen is a leading provider of motion control systems and components
for customers and equipment manufacturers around the globe. Kollmorgen has a global design
and manufacturing facility located in Radford, Virginia.

os Cavalieri is the former Senior Director of Operations for Kollmorgen - North
America and worked at Kollmorgen’s global design and manufacturing facility in Radford,
Virginia. Until January 4, 2019, Cavalieri worked as the Senior Director of Operations in the
Global Operations Department and as a member of the Kollmorgen North America Leadership
Team. Until at least February 2019, Cavalieri was a resident of Blacksburg, Virginia. Since at
least February 2019, Cavalieri has been employed as the Vice President of Operations for Celera,
a Novanta company, and a direct competitor of Kollmorgen, in breach of his contractual and le gal
duties to Kollmorgen.

3. Novanta is a Delaware corporation with its principal place of business in
Massachusetts. Celera is Novanta’s motion control business with its World Headquarters, North
American Sales Office and Customer Service and Technical Support Office in Bedford,
Massachusetts. Celera and Novanta are direct competitors of Kollmorgen’s motion control
business. Since at least February 2019, Celera and Novanta have been aware that Cavalieri’s
employment with and responsibilities at Celera and Novanta breach Cavalieri’s contractual and
legal duties to Kolimorgen, but Celera and Novanta have nonetheless continued to employ
Cavalieri in a capacity that tortiously interferes with Kollmorgen’s contractual agreements with

Cavalieri.

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JURISDICTION AND VENUE

 

4. This Court has personal jurisdiction over Cavalieri because, at times relevant
hereto, Cavalieri was a resident of Virginia, Cavalieri contracted with and was employed by
Kollmorgen in Virginia, Cavalieri signed a Fortive Corporation and Its Affiliated Entities
Agreement Regarding Competition and Protection of Proprietary Interests Agreement
(“Restrictive Covenants & Non-Disclosure Agreement” or “RCNDA”) in Virginia, Cavalieri has
transacted business in Virginia, and Cavalieri has caused the harm complained of to Kollmorgen
in Virginia through acts and omissions occurring both inside and outside Virginia. This Court also
has personal jurisdiction over Cavalieri because he signed a Separation Agreement and General
Release of claims against Kollmorgen, its affiliates and related persons and entities (“Separation
Agreement”) in Virginia on January 5, 2019 wherein he reaffirmed his continuing obligations
under the Restrictive Covenant & Non-Disclosure Agreement and agreed to other obligations
therein. Further, pursuant to Section 17 of the Separation Agreement, Cavalieri “irrevocably
submit[ted] to and recognize[d] the jurisdiction of [Virginia] courts” and “agree[d] that [Virginia]
courts are the only courts of competent jurisdiction.”

3, This Court has personal jurisdiction over Novanta and Celera under Virginia Code
§ 8.01-328.1 because, among other things, these defendants hired and employed Cavalieri when
he was located in Virginia and a resident of Virginia, these defendants have transacted business in
Virginia, these defendants have caused tortious injury to Kollmorgen in Virginia through acts and
omissions occurring both inside and outside Virginia, and, on information and belief, these
defendants regularly conduct or solicit business, or engage in persistent conduct or derive
substantial revenue from goods used or consumed or services rendered, in Virginia.

6. Venue is proper in this Court under Virginia Code § 8.01-262(4) because the cause

of action or a part thereof arose in Radford, Virginia.

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NATURE OF THE ACTION

7. This action arises out of: (i) Cavalieri’s breaches of his contractual duties owed to
Kollmorgen under his Restrictive Covenants & ee Agreement or RCNDA (Count 1);
(4i) Cavalieri’s material breaches of his contractual duties owed to Kollmorgen under his
Separation Agreement (Count 2); (iii) Kollmorgen’s request for a declaratory judgment under
Virginia Code §§ 8.01-184, et seq. declaring (a) that Cavalieri materially breached his obligations
to Kollmorgen under the Separation Agreement, and (b) that Kollmorgen is not obligated to pay
severance to Cavalieri and is entitled to recoup amounts previously paid to Cavalieri under the
Separation Agreement unless and until he fully and materially complies with his obligations under
the Separation Agreement (Count 3); (iv) Cavalieri’s actual and/or threatened misappropriation of
Kollmorgen’s trade secrets protected under Virginia Code §§ 59.1-336, et seq. (Count 4); (v)
Novanta’s and Celera’s tortious interference with the RCNDA (Count 5); and (vi) specific
performance requiring Cavalieri to disclose Developments (as defined in Section 3 of the RCNDA)
that were solely or jointly conceived by Cavalieri during the six month period begihning January
5, 2019 (including his employment with Novanta and Celera) that are required to be disclosed to
Kollmorgen pursuant to Section 4 of the RCNDA (Count 6).

8. Kollmorgen seeks temporary ‘hdl permanent injunctive relief and monetary
damages against Defendants to prevent and compensate for actual and threatened injury to
Kollmorgen in its business, trade and reputation arising from these breaches of contract, actual
and/or threatened misappropriation of trade secrets, and tortious interference.

9. Kollmorgen also seeks a declaration, pursuant to Virginia Code §§ 8.01-184, et
seq., that Cavalieri materially breached his obligations to Kollmorgen under the Separation

Agreement such that Kollmorgen is not obligated to pay severance and is entitled to recover

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amounts previously paid to Cavalieri. Kollmorgen also seeks specific performance of Sections 3
and 4 of the RCNDA requiring the disclosure of all Developments solely or jointly conceived by
Cavalieri during the six months following his saeementser Kollmorgen. Kollmorgen further
seeks an award of punitive damages against Novanta and Celera for their continuing and willful
tortious conduct.
FACTUAL ALLEGATIONS
Kollmorgen’s Confidential Information & Trade Secrets

10. For approximately sixty years, Kollmorgen has been engaged in highly-competitive
and specialized motion control design and development with hundreds of motion-related patents.
As an industry leader, Kollmorgen not only offers thousands of commercial, off-the-shelf (COTs)
products, Kollmorgen also designs and develops customized and clean-sheet motors and products,
and provides related engineering and support services.

11. Among its product offerings, Kollmorgen focuses on providing competitive and
proprietary innovation with customized and COTS frameless, brushless, servo and torquer motors
and related products and services for various specialized industries including the Aerospace &
Defense, Robotics and Medical Device industries.

12. Kollmorgen, through extensive efforts and the expenditures of substantial amounts
of time and money over many years, has developed commercially valuable confidential,
proprietary and trade secret information including, but not limited to: proprietary and trade secret
motor designs and engineering solutions; product improvements and strategies; service
improvements and strategies; customer and supplier data, reports, and information (including
customer agreements, customer lists, contract terms, customer buying practices, etc.); business

methods; supply chain; quality control methods; customer prospects, proposals and work in

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progress; current and prospective product applications; marketing and sales plans; technical
processes and techniques; technical information, know-how and research and development;
formulae; inventions and invention disclosures; discoveries; drawings; invention methods and
systems, prototypes and models; business plans, projections, prospects, opportunities and
strategies; competitive analyses; product costs; manufacturing costs; pricing information; business
forecast information; financial information and plans (including, but not limited to, those related
to revenue, cost and profit associated with products and services); software, source code and object
code; management information; and plans or proposals related to the foregoing; and other
confidential and proprietary or trade secret information which would cause competitive harm to
Kollmorgen if misappropriated, misused or disclosed, without authorization, by others
(“Kollmorgen Confidential Information”).

13. This Kollmorgen Confidential Information is a valuable commercial asset of
Kollmorgen, and Kollmorgen has guarded the secrecy of this Kollmorgen Confidential
Information from disclosure to competitors or other persons and entities outside of Kolimorgen.
Kollmorgen derives independent economic value from this Kollmorgen Confidential Information
not being generally known or readily ascertainable by other persons or entities, and at all times
Kollmorgen has engaged in reasonable efforts to maintain its secrecy.

Cavalieri was Employed by Kollmorgen &
Entered into the Restrictive Covenants & Non-Disclosure Obligations

14. Cavalieri worked for Kollmorgen and its affiliates for nearly 15 years, from June

2004 until January 4,2019. A copy of Cavalieri’s LinkedIn page with his work history is attached

hereto as Exhibit 1.

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15. In the 24 months preceding his departure from Kollmorgen, Cavalieri was the
Director of Operations for Kollmorgen’s Custom Business Unit and Senior Director of Operations
for Kollmorgen-North America. |

16. At the time of his departure, Cavalieri was the Senior Director of Operations in the
Global Operations Department and a member of the Kollmorgen North America Leadership Team,
with responsibility for Kollmorgen’s competitive operations in North America. A copy of
Cavalieri’s Director of Operations job description is attached hereto as Exhibit 2.

17. On January 5, 2018, Cavalieri and Kollmorgen executed and entered into the
Restrictive Covenants & Non-Disclosure Agreement or RCNDA attached hereto as Exhibit 3.
Kollmorgen was an affiliate of Fortive Corporation (“Fortive”) when Cavalieri executed the
RCNDA.

18. Pursuant to Section 1(b) of the RCNDA, Cavalieri agreed he would not, without
Kolimorgen’s prior written permission, directly or indirectly use or disclose to anyone outside
Kollmorgen, any Kollmorgen Confidential Information as long as such matters remain trade
secrets or confidential information.

19. Pursuant to Section 3 of the RCNDA, Cavalieri assigned to Kollmorgen his entire
right, title and interest in any idea, formula, invention, discovery, design drawing, process, method,
technique, device, improvement, computer program and related documentation, technical and non-
technical data, work of authorship, trade secret, copyright, trademark, service mark, trademark
registration, application for trademark registration, and patent and patent applications
(“Developments”), which he may solely or jointly conceive, write or acquire in whole or in part
during his employment for Kollmorgen, and for a period of six months thereafter, and which

relate in any way to the actual or anticipated business or research or development of Kollmorgen.

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20. Pursuant to Section 4 of the RCNDA, Cavalieri agreed to promptly disclose any
and all Developments to Kollmorgen, including those Developments he may solely or jointly
conceive, write or acquire in whole or in part for a period of six months after his employment
with Kollmorgen. This would include Developments, as defined in Section 3, that were
conceived, written or acquired since Cavalieri has been employed with defendants Novanta and
Celera, which have not yet been disclosed to Kollmorgen, and will not be disclosed to Kollmorgen,
in breach of Cavalieri’s duties to Kollmorgen, without a Court Order compelling such disclosure.

21. Pursuant to Section 6 of the RCNDA, Cavalieri agreed that for a period of 12
months following his employment with Kollmorgen, that he will not, among other things:

(a) directly or indirectly solicit any person, company or entity to purchase or
contract for products or services competitive with products or services offered by, developed
by, designed by or distributed by Kollmorgen, if that person, company or entity was a customer
or potential customer of Kollmorgen for such products or services with which he had direct contact
or about which he learned Confidential Information related to such products or services at any time
during the 24 months preceding the termination of his employment with Kollmorgen;

(b) directly or indirectly offer products or services competitive with
products or services offered by, developed by, designed by or distributed by Kollmorgen to
any person, company or entity which was a customer or potential customer of Kollmorgen for such
products or services and with which he had direct contact regarding such products or services at
any time during the 24 months preceding the termination of his employment with Kollmorgen;

(c) directly or indirectly operate or participate in the operations of any
company in competition with Kollmorgen (including, for example, serving as Celera’s Vice

President of Operations) or be employed by any company in competition with Kollmorgen with

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which he holds a position similar to his Director of Operations position at Kollmorgen
(including, for example, serving as Celera’s Vice President of Operations) in North America (the
geographic territory for which Cavalieri was responsible during the 24 months prior to his

termination from Kollmorgen);

(e) directly or indirectly use or reveal confidential contract or relationship
terms with any vendor or customer used by or served by Kollmorgen at any time during the 24

months preceding the termination of his employment with Kollmorgen; and

(g) directly or indirectly participate in the planning, research or development
of any products or services, competitive with products or services of Kollmorgen, excluding
general industry knowledge, for which he had product or service planning, research or
development responsibilities during the 24 months preceding the termination of his employment
with Kollmorgen. /

22. Pursuant to Section 8 of the RCNDA, Cavalieri agreed that, for a period of five (5)
years after his employment with Kollmorgen ended, he will affirmatively provide the RCNDA to
all subsequent employers, which would include Novanta and Celera.

23. Pursuant to Section 9 of the RCNDA, Cavalieri agreed that:

(a) in the event of a breach or a threatened breach of the RCNDA, Kollmorgen
will face irreparable injury for which damages would be an inadequate remedy, and he agreed
Kollmorgen “shall be entitled, in addition to remedies otherwise seat at law or in equity, to
obtain and enforce immediately temporary restraining orders, preliminary injunctions and final

injunctions without the posting of a bond enjoining such breach or threatened breach”; and

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(b) if Kollmorgen successfully enforces any portion of the RCNDA
Kollmorgen shall be entitled to receive and recover from him all of its reasonable attorney's fees,
litigation expenses and costs incurred as a result of enforcing the RCNDA.

Cavalieri was Provided Access to Kollmorgen Confidential Information

24. As Director of Operations and Senior Director of Operations for Kollmorgen in the
last 24 months of his employment, Cavalieri was responsible for, among other things, operations
and strategic planning; executing an operational strategy; managing the operations team to fulfill
internal and external customer demand; working closely with sales and marketing to support
customer demand; and working closely with product design and marketing to support product
development initiatives. See generally Exhibit 2. Cavalieri directly interacted with Kollmorgen
customers and had visibility into Kollmorgen’s entire customer base and vendor and supplier base.

25. As both Director of Operations and Senior Director of Operations and as a member
of the North American Leadership Team, Cavalieri was intimately familiar with and given access
to some of Kollmorgen’s most confidential, proprietary and trade secret information. He was
directly involved in and given access to Kollmorgen’s 2017 North American and global Strategic
Plan and strategic initiatives that contain the most sensitive competitive, strategic and financial
information that allows Kollmorgen to effectively compete in highly specialized and competitive
industries, including the Aerospace & Defense, Robotics and Medical Device industries. Cavalieri
was likewise familiar with and given access to the same types of information in Kollmorgen’s
2018 North American and global Strategic Plan and expansion initiatives.

26. Both the 2017 and 2018 Strategic Plans identify Novanta/Celera, and their
Applimotion brand of products, as direct competitors of Kollmorgen and contain highly
confidential information and trade secrets related to competition with and planned expansion into

areas in which Novanta/Celera directly compete with Kollmorgen.

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Dh. Cavalieri is intimately familiar with Kollmorgen’s frameless, brushless motors and
all manner of confidential information and trade secrets related thereto. Cavalieri was likewise
familiar with Kollmorgen’s new generation of frameless, brushless motors that target the Robotics
and other markets in which Novanta and Celera compete.

28. Kollmorgen’s frameless, brushless motors compete with other frameless motors
offered by competitors, such as Novanta/Celera, in the Aerospace & Defense, Robotics and
Medical Device industries.

29. Over the course of his entire employment with Kollmorgen, Kollmorgen trained
Cavalieri, disclosed Kollmorgen Confidential Information to Cavalieri and entrusted him with this
Kollmorgen Confidential Information. Cavalieri understood that the misuse or unauthorized
disclosure of this Kollmorgen Confidential Information would be detrimental to Kollmorgen and
that Kollmorgen would suffer great loss and damage if Cavalieri should, on his own behalf or on
behalf of any other person or entity (such as Novanta/Celera), misuse or disclose, without

authorization, any of this Kollmorgen Confidential Information. b

Cavalieri Reaffirms His Obligations in the RCNDA and Further Agreed to Protect
Kollmorgen Confidential Information in Exchange for Separation Payments

30. Cavalieri was separated from Kollmorgen on January 4, 2019, and executed the
Separation Agreement on January 5, 2019, a copy of which is attached hereto as Exhibit 4.

31. In exchange for his agreement to reaffirm his obligations in the RCNDA and his
agreement to comply with additional non-disclosure and restrictive covenant obligations set forth
in the Separation Agreement, all of which were material and essential to the Separation Agreement,

Kollmorgen agreed to provide substantial payments to Cavalieri to which he was not otherwise

entitled.

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32. Cavalieri further agreed that if he were to breach the restrictive covenants in the
Separation Agreement, including those set forth in the RCNDA and incorporated in the Separation
Agreement, Kollmorgen would be “irreparably harmed a4 matter of law and will be entitled to
seek immediate injunctive relief, plus its reasonable attorneys’ fees incurred in enforcing the
provision breached.”

33. Prior to confirming his breaches of the RCNDA and Separation Agreement in
January 2019, Kollmorgen paid Cavalieri amounts under the Separation Agreement to which he
was not otherwise entitled, including the ICP Bonus.

Cavalieri Breaches the RCNDA & Separation Agreement

34. Kollmorgen trusted that Cavalieri would honor his representations and assurances
and comply with the RCNDA and the Separation Agreement. Kollmorgen’s trust was sorely
misplaced.

33, Contrary to his representations and obligations, Cavalieri applied for the Vice
President of Operations position at Celera. This is a position with responsibilities nearly identical
to his Director of Operations positions a Kollmorgen, and is a management and operations position
with a direct competitor of Kollmorgen. Cavalieri’s employment in this position is in direct
violation of Sections 6(c) and 6(g) of the RCNDA and Section 5(a) of the Separation Agreement.

36. Cavalieri applied for this position in or before January 2019 and, on information
and belief, his employment with Celera began on or before January 30, 2019.

37. As set forth in the Novanta’s job posting for the Celera Vice President of
Operations, a copy of which is attached hereto as Exhibit 5, Cavalieri is responsible for, among
other things, “leading [Celera’s] strategic thinking and tactical implementation regarding all

aspects of multi-site operations to include supply chain, planning, quality, manufacturing,

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assembly, test engineering, [etc.].” Ex. 5 at 1. In this position, Cavalieri “[d]evelop[s] and
manage[s] [the] operational team and oversee all manufacturing activities.” Jd. at 2. He provides
“day to day support to sales and engineering,” “[djrive[s} the new product innovation process
through manufacturing according to business needs and strategic plan,” and “[a]cts as a key
member of executive management team balancing strategy and detailed tactics.” Id. at 2-3.

38. On information and belief, Cavalieri is supporting Celera, directly and/or indirectly,
in its current efforts to solicit, offer, sell and actively compete for Kollmorgen customers and
prospective customers in North America, including, but not limited to: ASML, Pacific Antenna
Systems, and others that will be identified following entry of an appropriate protective order.
Cavalieri had direct contact with these customers and/or learned/knew Kollmorgen Confidential
Information related to the products and services provided to these customers within the last 24
months of his employment. This conduct is in violation of Sections 6(a), (b) and/or (e) of the
RCNDA and Section 5(a) of the Separation Agreement.

39. Celera, through its Applimotion brand of frameless motors, among ‘other products
and services, has and continues to generally compete with Kollmorgen in the Aerospace &
Defense, Robotics and Medical Device industries, including with Kollmorgen customers and
potential customers in North America such as: Northrup Grumman Remotec, L-3 Daytron, CPI
Malibu, Aerovironment, ASML, Tecnar, IJK Controls, Pacific Antenna Systems and others that
will be identified following entry of an appropriate protective order. Cavalieri had direct contact
with these customers and/or learned/knew Kollmorgen Confidential Information related to the
products and services provided to some or all of these customers within the last 24 months of his

employment.

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40. Cavalieri’s Vice President of Operations position at Celera and Cavalieri’s
competition with Kollmorgen in this position strikes at the very heart of the restrictive covenants.
Indeed, the Vice President of Operations position is the gubstoccenttan example of the unfair
competition that Kollmorgen sought to prevent with the RCNDA and Separation Agreement.

41. At all times since his execution of the RCNDA on January 5, 2018, Cavalieri has
been aware of the existence and terms of the RCNDA and the necessity of his compliance with
and performance of the RCNDA to protect Kollmorgen’s legitimate business interests. Cavalieri
even reaffirmed these obligations and similar obligations in the Separation Agreement he signed
on January 5, 2019.

42. By letter dated February 4, 2019, Kollmorgen again reminded Cavalieri of his
obligations under the RCNDA and Separation Agreement, informed him that he was in breach of
those obligations, demanded that he cease and desist from continuing to breach his obligations,
and again instructed him to provide Novanta and Celera with a copy of the RCNDA.

43. In its February 4, 2019 letter, Kollmorgen further stated that “[u]ntil such time as
we receive information from you that satisfies Kollmorgen that all of your contractual obligations
to Kollmorgen have been met, we consider you to be in breach of contract and will continue to
withhold from you the payments and benefits outlined in the Separation Agreement.”

44 Despite being keenly aware of his obligations, Cavalieri has intentionally, willfully
and materially breached his RCNDA and Separation Agreement with Kollmorgen and has refused
to cease and desist from his wrongful conduct.

Novanta’s & Celera’s Tortious Interference with the RCNDA
45. Under the terms of the RCNDA, Cavalieri had an obligation to provide a copy of

the RCNDA to Novanta and Celera.

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46. On information and belief, Cavalieri provided Novanta and Celera with a copy of
the RCNDA on or before January 30, 2019.

47. On or about February 4, 2019, Kollmorgen sent a letter to Novanta and Celera
informing them of Cavalieri’s obligations under the RCNDA and of Cavalieri’s “breache[s of his]
contractual obligations by accepting employment with Novanta or a subsidiary of Novanta.”
Kollmorgen further informed Novanta and Celera that Cavalieri had “access to virtually all of
Kollmorgen’s confidential information and trade secrets,” and Kollmorgen did not expect that
Cavalieri would be able to honor his nondisclosure obligations to Kollmorgen in his capacity as
Vice President of Operations for Novanta/Celera.

48. Kollmorgen also informed Novanta and Celera that if Cavalieri continued to breach
his RCNDA and other agreements, Kollmorgen was prepared to pursue any and all legal remedies
available.

49. Since receiving notice of Cavalieri’s violations of his agreements and his wrongful
competition, Novanta and Celera have refused to remove Cavalieri as the Vicd President of
Operations and take all necessary steps to ensure that Cavalieri is not violating his agreement with
Kollmorgen. Instead, Novanta and Celera have intentionally, willfully and tortiously interfered
with Kollmorgen’s RCNDA with Cavalieri and enabled Cavalieri to continue to breach his
agreements with Kollmorgen.

50. As set forth above, Cavalieri possesses extensive and intimate knowledge of
Kollmorgen’s trade secrets, and he cannot effectively perform his duties at Celera without
disclosing, using or relying on Kollmorgen’s trade secrets. Based on the circumstances to date,
and Novanta’s and Celera’s refusal to remove Cavalieri as the Vice President of Operations and

take all necessary steps to ensure that Cavalieri is not violating his agreement with Kollmorgen, it

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is clear that Novanta and Celera are unable or unwilling to adequately safeguard Kollmorgen’s
trade secrets and they cannot be adequately protected by Cavalieri in his position as Vice President
of Operations. Kollmorgen, therefore, is entitled to an aed to prohibit this actual or
threatened misappropriation as set forth in Virginia Code § 59.1-337, and damages for any and all
actual misappropriation as set forth Virginia Code §§ 59.1-338, et seq. See MeadWestvaco Corp.
v. Bates, 91 Va. Cir. 509, 525 (Cir. Ct. 2013).

Defendants’ Actions Have Caused Great Harm to Kollmorgen’s Business

Bl Beginning in January 2019 and no later than February 4, 2019, and at all times
continuing up to the present, Defendants have injured Kollmorgen by, among other things,
breaching and tortiously interfering with the RCNDA and/or Separation Agreement, and engaging
in actual and/or threatened misappropriation of Kollmorgen’s trade secrets.

52. By engaging in this and other similar conduct, Cavalieri has breached the RCNDA
(Count 1) and has caused great damage to Kollmorgen.

53; By engaging in this and other similar conduct, Cavalieri has /breached the
Separation Agreement (Count 2) and has caused great damage to Kollmorgen.

54. By engaging in this and other similar conduct, Cavalieri has materially breached
the Separation Agreement and is not entitled to any payments or benefits thereunder until he fully
and materially complies with his obligations (Count 3).

55. By engaging in this and other similar conduct, Cavalieri has engaged in actual
and/or threatened misappropriation of Kollmorgen’s trade secrets (Count 4) and has caused and/or
will cause great damage to Kollmorgen.

56. By engaging in this and other similar conduct, Novanta and Celera have tortiously

interfered with the RCNDA (Count 5), and has caused great damage to Kollmorgen.

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57. Cavalieri cannot effectively perform his duties at Celera without disclosing, using
or relying on Kollmorgen’s trade secrets. Therefore, on information and belief, Cavalieri, while
employed by Novanta/Celera, has solely or jointly eee of Developments (as defined in
Section 3 of the RCNDA) to which all right, title and interest has been assigned to Kollmorgen.
Cavalieri, however, has not yet disclosed those Developments to Kollmorgen, and will not disclose
those Developments to Kollmorgen, in breach of Cavalieri’s duties to Kollmorgen, without a Court
Order compelling such disclosure. Cavalieri’s failure to disclose Developments to Kollmorgen in
the six months following his departure from Kollmorgen will cause substantial damage to
Kollmorgen and deprive it of property rights to which it is entitled. Kollmorgen, therefore, is
entitled to specific performance requiring Cavalieri to disclose those Developments that were
solely or jointly conceived by Cavalieri during the six month period beginning January 5, 2019
that are required to be disclosed to Kollmorgen pursuant to Section 4 of the RCNDA (Count 6).

58. Defendants’ actions, both individually and collectively, have proximately caused
and will continue to proximately cause Kollmorgen to suffer immediate and irreparable harm,
unless Defendants are temporarily and permanently enjoined to honor the agreements with and
their legal obligations to Kollmorgen. .

59. Kollmorgen has no adequate remedy at law. Without temporary and permanent
injunctive relief prohibiting Defendants from continuing to engage in these unlawful activities,
Kollmorgen will continue to suffer immediate and irreparable harm.

COUNT 1,
BREACH OF CONTRACT
(Against Cavalieri for Breach of the RCNDA)
60. Kollmorgen repeats and realleges the allegations contained in all of the preceding

paragraphs of the Complaint, as though fully set forth herein.

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61. The RCNDA is a valid, binding and enforceable contract.

62. Cavalieri breached his obligations under the RCNDA by applying for, accepting
and continuing to work as Vice President of Operations eemaae. Cavalieri’s responsibilities in
this position are nearly identical to his Director of Operations positions a Kollmorgen and within
the restricted geographic territory. Cavalieri has a management and operations position with a
direct competitor of Kollmorgen, and his position involves product and/or service planning, supply
chain and quality control management and/or research and development responsibilities for
products and services for which Cavalieri had planning, research or development responsibilities
in the 24 months preceding his termination from Kollmorgen. Cavalieri’s employment in this
position, therefore, is in direct violation of Sections 6(c) and 6(g) of the RCNDA.

30. Further, Cavalieri is supporting Celera, directly and/or indirectly, in its current
efforts to solicit, offer, sell and actively compete for Kollmorgen customers and prospective
customers in North America, including, but not limited to: ASML, Pacific Antenna Systems, and
others that will be identified following entry of an appropriate protective order. Cavalieri had
direct contact with these customers and/or learned/knew Kollmorgen Confidential Information
related to the products and services provided to these customers within the last 24 months of his
employment. This conduct is in violation of Sections 6(a), (b) and/or (e) of the RCNDA.

31. Celera, through its Applimotion brand of frameless motors, among other products
and services, has and continues to generally compete with Kollmorgen in the Aerospace &
Defense, Robotics and Medical Device industries, including with Kollmorgen customers and
potential customers in North America such as: Northrup Grumman Remotec, L-3 Daytron, CPI
Malibu, Aerovironment, ASML, Tecnar, IJK Controls, Pacific Antenna Systems and others that

will be identified following entry of an appropriate protective order. Cavalieri had direct contact

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with these customers and/or learned/knew Kollmorgen Confidential Information related to the
products and services provided to some or all of these customers within the last 24 months of his
employment. This conduct is in violation of Sections 6(a), (b) and/or (e) of the RCNDA.

63. Cavalieri possesses extensive and intimate knowledge of Kollmorgen’s trade
secrets and Kollmorgen Confidential Information, and he cannot effectively perform his duties at
Celera without disclosing, using or relying on Kollmorgen’s trade secrets and Kollmorgen
Confidential Information. On information and belief, Cavalieri has directly and/or indirectly used
or disclosed to Novanta/Celera, Kollmorgen Confidential Information in breach of Section 1(b)
and/or 6(e) of the RCNDA.

64. Cavalieri’s material breaches of the RCNDA has proximately caused Kollmorgen
to suffer damages, including, but not limited to, lost profits, loss of goodwill, loss of competitive
advantage, loss of business opportunities, damage for business interruption and other damages,
and Kollmorgen is entitled to recover these damages from Cavalieri.

65. | Absent temporary and permanent injunctive relief, Cavalieri’s breaches of the
RCNDA will continue to cause irreparable injury to Kollmorgen and its business.

66. Kollmorgen is entitled to temporary and permanent injunctive relief, compensatory
damages, and attorneys’ fees, expenses and costs pursuant to Section 9 of the RCNDA.

COUNT 2.
BREACH OF CONTRACT
(Against Cavalieri for Breach of the Separation Agreement)
67.  Kollmorgen repeats and realleges the allegations contained in all of the preceding

paragraphs of the Complaint, as though fully set forth herein.

68. The Separation Agreement is a valid, binding and enforceable contract.

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69. . Cavalieri breached his obligations under the Separation Agreement by applying for,
accepting and continuing to work as Vice President of Operations for Celera. Cavalieri’s
responsibilities in this position are nearly identical to his Director of Operations positions at
Kollmorgen and within the restricted geographic territory. Cavalieri has a management and
operations position with a direct competitor of Kollmorgen, and this position involves product
and/or service planning and/or research and development responsibilities for products and services
for which Cavalieri had planning, research or development responsibilities in the 24 months
preceding his termination from Kollmorgen. Cavalieri’s employment in this position, therefore,
is in direct violation of Section 5(a) of the Separation Agreement.

70. Further, Cavalieri is supporting Celera, directly and/or indirectly, in its current
efforts to solicit, offer, sell and actively compete for Kollmorgen customers and prospective
customers in North America, including, but not limited to: ASML, Pacific Antenna Systems, and
others that will be identified following entry of an appropriate protective order. Cavalieri had
direct contact with these customers and/or learned/knew Kollmorgen Confidential Information
related to the products and services provided to these customers within the last 24 months of his
employment. This conduct is in violation of Sections 5(a) of the Separation Agreement.

71. Celera, through its Applimotion brand of frameless motors, among other products
and services, has and continues to generally compete with Kollmorgen in the Aerospace &
Defense, Robotics and Medical Device industries, including with Kollmorgen customers and
potential customers in North America such as: Northrup Grumman Remotec, L-3 Daytron, CPI
Malibu, Aerovironment, ASML, Tecnar, IJK Controls, Pacific Antenna Systems, and others that
will be identified following entry of an appropriate protective order. Cavalieri had direct contact

with these customers and/or learned/knew Kollmorgen Confidential Information related to the

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products and services provided to some or all of these customers within the last 24 months of his

employment. This conduct is in violation of Sections 5(a) of the Separation Agreement.

72. Cavalieri possesses extensive and intimate knowledge of Kollmorgen’s trade
secrets and Kollmorgen Confidential Information, and he cannot effectively perform his duties at
Celera without disclosing, using or relying on Kollmorgen’s trade secrets and Kollmorgen
Confidential Information. On information and belief, Cavalieri has directly and/or indirectly used
or disclosed to Novanta/Celera, Kollmorgen Confidential Information in breach of Section 5(a) of
the Separation Agreement.

73. Cavalieri’s material breaches of the Separation Agreement has proximately caused
Kollmorgen to suffer damages, including, but not limited to, lost profits, loss of goodwill, loss of
competitive advantage, loss of business opportunities, damage for business interruption and other
damages, and Kollmorgen is entitled to recover these damages from Cavalieri.

74. As a result of Cavalieri’s material breaches, Kollmorgen is entitled to recoup all
amounts paid to Cavalieri thereunder until he fully and materially complies with his obligations
therein.

75. Absent temporary and permanent injunctive relief, Cavalieri’s breaches of the
Separation Agreement will continue to cause irreparable injury to Kollmorgen and its business.

76. Kollmorgen is entitled to temporary and permanent injunctive relief, compensatory

damages, and attorneys’ fees, expenses and costs pursuant to Section 12 of the Separation

Agreement.

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COUNT 3.
DECLARATORY JUDGMENT UNDER §§ 8.01-184, et seq.
(Cavalieri’s Material Breach Suspends Kollmorgen’s Obligations)

77.  Kollmorgen repeats and incorporates by esc each and every allegation set
forth in the above, as if fully set forth herein.

78. There is an actual and immediate controversy between Kollmorgen and Cavalieri,
within the meaning of Virginia Code §§ 8.01-184, et seq., as to whether this Court will declare
that Cavalieri materially breached Section 5(a) of the Separation Agreement and declare that
Kollmorgen is not obligated to pay Cavalieri severance, or any amount under the Separation
Agreement to Cavalieri until he has fully and materially complied with his obligations under the
Separation Agreement.

79. This controversy is concrete and capable of judicial resolution.

80.  Justiciable issues exist for which declaratory relief is appropriate under Virginia
Code §§ 8.01-184, et seq., and all parties to the controversy are before this Court.

81. Kollmorgen requests that this Court, pursuant to Virginia Code §§ 8.01-1 84, et seq.,
declare that Cavalieri materially breached the Separation Agreement, that Kollmorgen is not
obligated to pay Cavalieri any amount under the Separation Agreement, including severance, until
Cavalieri fully and materially aonates with his obligations under the Separation Agreement.
Kollmorgen further requests that this Court otherwise declare the respective rights and legal
relations of the parties.

COUNT 4.
TRADE SECRET MISAPPROPRIATION UNDER § 59.1-336, et seq.
(Cavalieri’s Actual and/or Threatened Misappropriation of Trade Secrets)

82.  Kollmorgen repeats and realleges the allegations contained in all of the preceding

paragraphs of the Complaint, as though fully set forth herein.

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83.  Kollmorgen is the owner of and was in possession of trade secrets in, among other
things: motor designs and engineering solutions; product improvements and strategies; service
improvements and strategies; customer and supplier data, reports, and information (including
customer agreements, customer lists, contract terms, customer buying practices, etc.); customer
prospects, proposals and work in progress; current and prospective product applications; marketing
and sales plans; technical processes and techniques; technical information, know-how and research
and development; formulae; inventions and invention disclosures; discoveries; drawings;
invention methods and systems; prototypes and models; business plans, projections, prospects,
opportunities and strategies; competitive analyses; product costs; manufacturing costs; pricing
information; business forecast information; financial information and plans (including, but not
limited to, those related to revenue, cost and profit associated with products and services);
software, source code and object code; management information; and plans or proposals related to
the foregoing.

84, Throughout his employment and as both Director of Operations and Senior Director
of Operations and as a member of the North American Leadership Team, Cavalieri was intimately
familiar with and given access to Kollmorgen’s trade secret information, and was under obligations
to protect the confidential nature of Kollmorgen’s trade secrets.

85. Both the 2017 and 2018 Strategic Plans identify and contain Kollmorgen trade
secrets related to, among other things, competition with and planned expansion into areas in which
Novanta/Celera directly compete with Kollmorgen.

86. Cavalieri is intimately familiar with Kollmorgen’s frameless, brushless motors and

all manner of trade secrets related thereto. Cavalieri was likewise familiar with Kollmorgen’s

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trade secrets related to its new generation of frameless, brushless motors that target the Robotics
and other markets in which Novanta and Celera compete.

87. At all relevant times, Kollmorgen has taken reasonable and appropriate steps to
maintain the secrecy and confidentiality of its trade secrets.

88.  Kollmorgen’s trade secrets derived independent economic value, actual or
potential, in not being generally known or readily ascertainable by competitors.

89. Cavalieri cannot effectively perform his duties as Vice President of Operations for
Celera without disclosing, using or relying on Kollmorgen’s trade secrets. Based on the
circumstances to date, and Novanta’s and Celera’s refusal to remove Cavalieri as the Vice
President of Operations and take all necessary steps to ensure that Cavalieri is not violating his
agreement with Kollmorgen, it is clear that Novanta and Celera are unable or unwilling to
adequately safeguard Kollmorgen’s trade secrets which cannot be adequately protected by
Cavalieri in his position as Vice President of Operations.

90. Cavalieri has and/or will disclose without express or implied consent Kollmorgen
trade secrets which he has contractual and legal duties to maintain as secret.

91. Kollmorgen is entitled to an injunction to prohibit this actual or threatened
misappropriation as set forth in Virginia Code § 59.1-337. See MeadWestvaco Corp. v. Bates, 91
Va. Cir. 509, 525 (Cir. Ct. 2013)

COUNT 5.
TORTIOUS INTERFERENCE WITH CONTRACT
(Against Novanta & Celera for Tortious Interference with the RCNDA)
92.  Kollmorgen repeats and realleges the allegations contained in all of the preceding

paragraphs of the Complaint, as though fully set forth herein.

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93. A valid and binding contractual relationship exists between Cavalieri and
Kollmorgen in the form of the RCNDA.

94. Novanta and Celera knew and know that the RCNDA existed and exists between
Cavalieri and Kollmorgen.

95. Notwithstanding their knowledge of the RCNDA, Novanta and Celera
intentionally, willfully and purposefully interfered with Kollmorgen’s contractual relationship
with Cavalieri by, among other ways, inducing and/or causing Cavalieri to breach and/or continue
to breach his obligations to Kollmorgen under the RCNDA.

96. | Novanta’s and Celera’s interference with Kollmorgen’s contractual relationship
with Cavalieri directly and proximately caused Cavalieri’s breach or continued breach of his
obligations to Kollmorgen under the RCNDA and the resulting damages and deprivation of benefit
to Kollmorgen.

97.  Novanta’s and Celera’s tortious interference with the RCNDA has proximately
caused Kollmorgen to suffer damages, including, but not limited to, lost profits, loss of goodwill,
loss of competitive advantage, loss of business opportunities, damage for business interruption and
other damages, and Kollmorgen is entitled to recover these damages from Novanta and Celera.

98. Absent temporary and permanent injunctive relief, Novanta’s and Celera’s tortious
interference with the RCNDA will continue to cause irreparable injury to Kollmorgen and its
business.

99.  Novanta’s and Celera’s actions were taken willfully and wantonly, maliciously,
intentionally, and in bad faith.

100. Asa result, Kollmorgen is entitled to recover punitive damages for Novanta’s and

Celera’s wrongful conduct.

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COUNT 6.
SPECIFIC PERFORMANCE
(Requiring Cavalieri to Disclose Developments)

101. Kollmorgen repeats and realleges the allegations contained in all of the preceding
paragraphs of the Complaint, as though fully set forth herein.

102. Pursuant to Section 3 of the RCNDA, Cavalieri assigned to Kollmorgen his entire
right, title and interest in any Developments (defined therein), which he may solely or jointly
conceive, write or acquire in whole or in part during his employment for Kollmorgen, and for a
period of six months thereafter, and which relate in any way to the actual or anticipated business
of Kollmorgen or research or development of Kollmorgen.

103. Pursuant to Section 4 of the RCNDA, Cavalieri agreed to promptly disclose any
and all Developments to Kollmorgen, and this includes Developments that were conceived, written
or acquired since Cavalieri has been employed with defendants Novanta and Celera, which relate
in any way to the actual or anticipated business of Kollmorgen or research or development of

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Kollmorgen.

104. Kollmorgen and Novanta/Celera are motion control competitors. Thus, any
development solely or jointly conceived, written or acquired by Cavalieri at Novanta or Celera
will relate, in some way, to the actual or anticipated business of Kollmorgen or research or
development of Kollmorgen.

105. Cavalieri has not yet disclosed to Kollmorgen, and likely will not disclose to
Kollmorgen, his Developments at Novanta and Celera within six months of January 5, 2019

without a Court Order compelling such disclosure.

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106. Kollmorgen, therefore, requests an Order requiring Cavalieri to specifically
perform his obligations to Kollmorgen pursuant to Section 4 of the RCNDA and promptly disclose
any and all such Developments to Kollmorgen.

PRAYER FOR RELIEF
WHEREFORE, Kollmorgen prays that:

kL Kollmorgen be awarded a temporary and permanent injunction against Cavalieri
enjoining and restraining Cavalieri from breaching the RCNDA and Settlement Agreement and
engaging in actual or threatened misappropriation of Kollmorgen’s trade secrets.

Ze Kollmorgen be awarded a temporary and permanent injunction against Novanta and
Celera enjoining and restraining Novanta and Celera from tortiously interfering with the RCNDA
and/or Separation Agreement;

3. Kollmorgen be provided the benefit of the full restrictive time periods specified in
the RCNDA by extending the duration of the injunctions sought in paragraphs | and 2 of its Prayer
For Relief by a period of time equal in length to the period during which the vidlations of the
RCNDA have occurred pursuant to applicable law;

4. This Court enter an Order declaring that Kollmorgen is not obligated to pay
Cavalieri severance, or any other amount under the Separation Agreement and/or declaring that
Kollmorgen is not obligated to pay Cavalieri severance, or any other amount under the Separation
Agreement, until such time as he fully and materially complies with his obligations under the
Separation Agreement;

= This Court enter an Order requiring Cavalieri to fully comply with Section 4 of the
RCNDA and disclosure all Developments that are required to be disclosed under Sections 3 and 4
of the RCNDA during the six (6) month period following the end of Cavalieri’s employment with

Kollmorgen;

{2449812-2, 102854-00007-01} 27
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6. Kollmorgen be awarded compensatory damages against Defendants in the amount
of One Hundred Thousand Dollars ($100,000.00);

(a) Kolimorgen’s recovery against Defendants include, without limitation:
forfeiture, recoupment and disgorgement of all profits and gains realized by Defendants from the
foregoing wrongful acts, and payment of lost profits to Kollmorgen;

(b) Kollmorgen’s recovery against Cavalieri include, without limitation:
forfeiture, recoupment and disgorgement of all compensation paid to Cavalieri during the time
period of his violations of his contractual and legal duties to Kollmorgen;

te Kollmorgen be awarded temporary and permanent injunctive relief, attorneys’ fees,
costs and expenses pursuant to Section 9 of the RCNDA and Section 12 of the Separation
Agreement or as otherwise provided by law;

8. Kollmorgen be awarded punitive damages of Three Hundred Fifty Thousand
Dollars ($350,000.00) against Novanta and Celera for tortious interference or as otherwise
provided by law; i

9. Kollmorgen be awarded attorneys’ fees, costs and expenses against Defendants to
the fullest extent permitted by law;

10. Kollmorgen be awarded interest and costs;

11. Kollmorgen be awarded such other and further relief as the Court deems proper.

A TRIAL BY JURY IS DEMANDED.

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Dated: March 5, 2018

Joshua F. P. Long (VSB#65684)
Joshua R. Treece (VSB#79149)
WOODS ROGERS PLC

Wells Fargo Tower, Suite 1400
10 South Jefferson Street

Post Office Box 14125
Roanoke, Virginia 24038-4125
Telephone No. (540) 983-7600
Facsimile No. (540) 983-7711
jlong@woodsrogers.com
jtreece@woodsrogers.com

Counsel for Plaintiff

£2449812-2, 102854-00007-01}

KOLLMORGEN CORPORATION.

By:

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Exhibit 1

 
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Daily Bookkeeping - We take care of your Bookkeeping! VA DC MD Taxes, Payroli and Bookkeeping Ad -* ’

Michael Cavalieri - 2nd
Vice President of Operations at Novanta Inc.
Blacksburg, Virginia

Connect 4 Message More...

Novanta Inc.

Virginia Polytechnic Institute
and State University

See contact info

500+ connections

Experienced Senior Director Of Operations with a demonstrated history of working in the industrial
automation industry. Skilled in Engineering, Cross-functional Team Leadership, Manufacturing,
Management, and Lean Manufacturing. Strong operations professional with a Master of Business
Administration (M.B.A.) focused in Business, Management, Marketing, and Related Support Services fram

Virginia Polytechnic Institute and State University.

Highlights

1 Mutual Connection
You and Michael both know Brian McCahill

 

Experience

Vice President of Operations
Novanta Inc.

Feb 2019 - Present - 1 mo
Bedford, MA

i.

Fortive Automation & Specialty Platform
5 yrs

@ rornve

Sr. Director of Operations, Kollmorgen - North America

Jan 2018 ~ Jan 2019 - lyr 1 mo
Radford, VA /

Director of Operations - Kollmorgen Custom Business Unit

Mar 2016 — Jan 2018 - L yr 11 mos

Director of Operations - Kollmorgen Industrial Automation

Feb 2014 — Mar 2016 - 2 yrs 2 mas
Radford, Virginia

Show fewer roles ~

PP Danaher Corporation
eemanen Ayre 5 mos

Business Unit Director - Dover Motion
Dec 2012 ~ Feb 2014 « 1 yr 3 mos

https://www.linkedin.com/in/michael-cavalieri-8a7160105/

Tigeistge ee
fel col made Tiel Oe
Steamy lait)

ee ee)

Se sae

 

People Also Viewed

Melissa Hammerle - 3rd

Vice President & General Manager at
Fortive

#%
Dan St. Martin + 2nd
" President at Kollmorgen {a
be Fortive/Danaher Company)
Jessica Clarke » 2nd
7
> Manufacturing Excellence Leader, US /
Canada
§ ™

David Burke « 2nd

Project Manager at Kolimargen (a
Fortive / Danaher company}

Alicia Fehr
Manvfacturing Specialist 4 at GE

Paul Moody
Computer Hardware Professional

Harry Rehder - 3rd

© Project Coordinatar/ESD Program
Manager at California Integration
Coordinators

Ala Tayeh

Owner at Amazing Athletes of
Sacramento, California

Lauren Finman

Business Administrator at ProChem
Incorporated

jarren stone

electrition at stone electric

Learn the skills Michael has
a M Lean Six Sigma: Define and
Ch . Measure Tools
FE Viewers: 11,029

  

Management

Wieser 464

 

2/26/2019
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a

Boxborough, Massachusetts

Operations and Supply Chain Manager - Dover Motion
May 2011 - Dec 2012 - 1 yr 8 mos
Boxborough, Massachusetts

inside Sales & Customer Service Manager - Dover Motion
Oct 2009 — May 2011 - 1 yr 8 mos

Filed 04/05/19 Page 35 o0f 54 Pageid#: SPage 2 of 3

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41 New Virginia Clients

41 new legal clients seeking a

Boxborough, Massachusetts i ey Virginia attorney. View their cases ,
: todav.
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Bobuxts We take care of Bill paymeni,
Customer Billing, create Monthly
Financials.
ra Kollmorgen
Ea 5 yrs 5 mos
Product Line Manager/Operations Manager
Jan 2009 - Oct 2009 - 10 mas
Radford, Virginia
Continuous Improvement Manager
May 2007 -— Jan 2009 - 1 yr 9 mos
Juarez, CH Mexico/Marengo, IL/Rockford, IL/Salem, NH/Radford. VA
Area Manager/Process Engineer
Dec 2005 ~ Apr 2007 . 1 yr 5 mos
Radford, Virginia
Process Engineer
Jun 2004 — Dec 2005 - lyr 7 mas
Radford, Virginia
Show fewer roles ~
Education
Vie Virginia Potytechnic Institute and State University
Tm Master of Business Administration (M.B.A.}, Business, Management, Marketing, and
Related Support Services
2005 — 2009 ]
yy Virginia Polytechnic Institute and State University
Ti
Bachelor's Degree, Mechanical Engineering
2000 - 2004
Skills & Endorséments
Lean Manufacturing - 6
Endorsed by Frank Matyoka and 1 other who is ao Endorsed by 2 of Michael's colleagues at Danaher
highly skilled atthis Corporation
Manufacturing
wy Endorsed by Edward Hammond and 1 other who is Endorsed by 2 of Michael's colleagues at
highly skilled at this = Kallmorgen
Product Development - 4
Lauren Quesenberry and 3 connections have given endorsements for this skill
Industry Knowledge
Continuous Improvement Kaizen
Engineerin
9 g ee ~
| 3 Messaging
https://www. linkedin.com/in/michael-cavalieri-8a7 160105/ 2/26/2019
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® ieterpersonal Skills

Management - 3

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Michael C@wdtert |I9nkedIa285-GEC Document1-1 Filed 04/05/19 Page 36 of 54 Pageid#: 4Rhge 3 of 3

Cross-functional Team Leadership - 2

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YASICAWA

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Novanta Inc.
6,757 followers

Kollmorgen
8,470 followers

Yaskawa Motoman
22,501 followers

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Go to your Settings.

  
  

 
   

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3 Messaging

https://www.linkedin.com/in/michael-cavalieri-8a7160105/ 2/26/2019
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Exhibit 2
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Job Title: Director of Operations
Department: Global Operations
Reports To: VP Global Operations

FLSA Status: Exempt

POSITION SUMMARY:

The Director of Operations is a key member of the Global Operations team and is responsible
for developing and executing Operational strategy for assigned locations which satisfies
Customer Demand and achieves Key Business Objectives. The Director is also an engaged
member of the Kollmorgen North America Leadership Team.

ESSENTIAL DUTIES AND RESPONSIBILITIES:
Along with those identified below, other duties may be assigned.

Manages a site(s) Operations team which fulfills internal and external customer demand.
Develops and delivers Operations forecasts for Revenue and Cost

Provides leadership for and improves Engagement of Associates directly involved in
Operations and Associates working with Operations

Ensures that best practices for Lean Manufacturing, Process Quality, and Visual
Management are used in the manufacture of products

Manages and delivers improvements in safety, quality, lead time, cost, and productivity
through use of Kollmorgen Business System tools.

Manages and improves Working Capital through reduction of inventory and increasing
inventory turns

Leads Operations reviews with Site teams to ensure targets are met and rigorous
problem solving process is applied.

Develops associates in a manner which meets the future needs of the organization and
prepares annual plan with HR partners to identify key contributors, areas of /
organizational and individual development, and succession planning

Actively focuses on Engagement of site Operations associates and all associates
interacting with assigned locations.

Responsible for EHS and Environmental Risk Management for assigned locations
Leads and influences Supply Chain team members to provide further improvement in
cost and effectiveness

Leads PSI for assigned locations and Works closely with Sales and Marketing to
optimize resources needed to support customer demand.

Works closely with Product Design and Marketing functions to support Product
Development initiatives

MEASUREMENTS:

On Time Delivery

External and Internal Quality

Cost and Margin Expansion (Productivity, PPV, VAVE, Scrap, etc)
Inventory and Inventory Turn Improvement

Associate Engagement

New Product Development Projects on Time and on Budget
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QUALIFICATIONS:
To perform this job successfully, an individual must be able to perform each essential duty
satisfactorily. The requirements listed below are representative of the knowledge, skill, and/or
ability required. Reasonable accommodations may be made to enable individuals with
disabilities to perform the essential functions.
Charts the Course
e Utilizes critical thinking
e Moves strategy to action
e Leads in a global environment
Drives Innovation and Growth
e Listens and responds to customer needs
e Cultivates and enables breakthrough thinking to drive growth
e Encourages balanced risk taking to advance innovation
Champions Continuous Improvement
e Solves problems
e Drives for results
Builds People, Teams and Organizations
e Relentlessly attracts, engages and develops people
e Builds strong effective and diverse organizations
e Creates followership through collaboration
Acts with Integrity
e Consistently uses sound judgment
e Operates with transparency and is trusted
e Demonstrates humility and self-awareness

Additional Skills and Qualifications
e Technical knowledge of Product and Manufacturing processes
e Prior operations daily management, process development and organizational development
experience in a Lean/Pull operations environment required
Financial Acumen
Strong written, verbal and computer skills
Excellent communications and instruction skills
Demonstrated proficiency in time and project management
Success in managing through influence, persuasion, coaching and counseling
Ability to accurately assess key business metrics and situations from a Senior
Leadership perspective
e Demonstrated aptitude in organization development through a combination of effective
talent planning and associate development

EDUCATION and/or EXPERIENCE

e Bachelor's Degree in Engineering or related technical experience
e 10 years of experience in Engineering or Operations
e 5+ years leading teams and developing talent

  
   

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Exhibit 3
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(Z) FORTIVE

FORTIVE CORPORATION AND ITS AFFILIATED ENTITIES
AGREEMENT REGARDING COMPETITION AND PROTECTION OF PROPRIETARY INTERESTS

Fortive Corporation believes that recruiting and retaining the best people to work in its highly competitive
businesses means treating them fairly, rewarding their contributions, and thereby establishing a strong
partnership for our collective well-being and continued success. Working at Fortive and/or any of its
affiliates provides associates with specialized and unique knowledge and confidential information and
access to key business relationships, which, if used in competition with Fortive and/or its affiliates, would
cause harm to Fortive and/or its affiliates. As such, it is reasonable to expect a commitment from our
associates that protects the legitimate business interests of Fortive and its affiliates, and therefore, their
own interests. Please read and sign this Agreement in the spirit intended: our collective long-term growth
and success.

I understand that J am or will be employed by or enter into a relationship with Fortive Corporation
including its subsidiaries and/or affiliates (collectively the “Company”), and will learn and have access to the
Company’s confidential, trade secret and proprietary information and key business relationships. I understand that
the products and services that the Company develops, provides and markets are unique. Further, I know that my
promises in this Agreement are an important way for the Company to protect its proprietary interests.

I agree that the Company is engaged in a business which is highly specialized, the identity and particular
needs of Company’s customers and vendors are not generally known, and the documents and information regarding,
among other things, the Company’s employees and talent, the Fortive Business System, customers, vendors,
services, products, technology, formulations, methods of operation, sales, marketing, pricing, and costs are highly
confidential and proprietary.

I acknowledge and agree that I have been given an adequate period of time to consider this Agreement and
to have this Agreement reviewed at my expense and by an attorney of my choice regarding the terms and legal effect
of this Agreement. I have read this Agreement and understand all of its terms and conditions and am entering into
this Agreement of my own free will without coercion from any source. | have not and am not relying on legal
advice provided by the Company or any personnel of the Company. /

| agree the above recitals are material terms of this Agreement.

In addition to other good and valuable consideration, | am expressly being given employment, continued
employment, a relationship with the Company, renewal of a relationship with the Company, a promotion, eligibility
to receive grants of stock options or other equity awards, certain monies, benefits, training and/or trade secrets and
confidential information of the Company and its or their customers, suppliers, vendors or affiliates to which I would
not have access but for my relationship with the Company in exchange for my agreeing to the terms of this
Agreemént. In consideration of the foregoing, I agree as follows:

‘Ly Protection of Confidential Information.

 

a. Definition of “Confidential Information”. The term “Confidential Information” shall mean the
trade secrets and other confidential information of the Company which is not generally known to the public, and
which (a) is generated or collected by or utilized in the operations of the Company and relates to the actual or
anticipated business or research or development of the Company or the Company’s actual or prospective vendors or
customers; or (b)'is suggested by or results from any task assigned to me by the Company or work performed by me
for or on behalf of the Company or any customer of the Company. Confidential Information shall not be considered
generally known to the public if revealed improperly to the public by me or others without the Company’s express
written consent and/or in violation of an obligation of confidentiality to the Company. Examples of Confidential
Information include, but are not limited to, customer and supplier identification and contacts, information about
customers, Voice of the Customer data, reports or analyses, business relationships, contract terms, pricing, price
lists, pricing formulas, margins, business plans, projections, prospects, opportunities or strategies, acquisitions,

Gen NCA (06-2018)
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divestitures or mergers, marketing plans, advertising or promotions, financial data (including but not limited to the
revenues, costs, or profits, associated with any products or services), business and customer strategy, techniques,
formulations, technical information, technical know-how, formulae, production information, inventions, invention
disclosures, discoveries, drawings, invention methods, systems, information regarding all or any portion of the
Fortive Business System, lease structure, processes, designs, plans, architecture, prototypes, models, software,
source code, object code, solutions, Talent Reviews and Organizational Plans, research and development,
copyrights, patent applications and plans or proposals related to the foregoing.

b. Nondisclosure and Prohibition against Misuse. At all times during and after the termination of
my employment or relationship with the Company, | will not, without the Company’s prior written permission,
directly or indirectly for any purpose other than performance of my duties for the Company, utilize or disclose to
anyone outside of the Company any Confidential Information, or any information received by the Company in
confidence from or about third parties, as long as such matters remain trade secrets or confidential. The
confidentiality obligations herein or elsewhere in this Agreement shall not prohibit me from divulging Confidential
Information by order of court or agency of competent jurisdiction or as otherwise required by law.

c. Notice of Immunity under the Defend Trade Secrets Act. I acknowledge and agree that the
Company has provided me with written notice below that the Defend Trade Secrets Act, 18 U.S.C. § 1833(b),
provides an immunity for the disclosure of a trade secret to report suspected violations of law and/or in an anti-
retaliation lawsuit, as follows:

(1) An individual shall not be held criminally or civilly liable under any Federal or State trade
secret law for the disclosure of a trade secret that (A) is made (i) in confidence to a Federal, State,
or local government official, either directly or indirectly, or to an attorney; and (ii) solely for the
purpose of reporting or investigating a suspected violation of law; or (B) is made in a complaint or
other document filed in a lawsuit or other proceeding, if such filing is made under seal.

(2) An individual who an employer for retaliation for reporting a suspected violation of law may
disclose the trade secret to his or her attorney and use the trade secret information in the court
proceeding, if the individual: (A) files any document containing the trade secret under seal; and
(B) does not disclose the trade secret, except pursuant to court order.

2. Return of Property and Copying | agree that all tangible materials (whether originals or duplicates),
including but not limited to, notebooks, computers, files, reports, proposals, price lists, lists of actual or potential
customers or suppliers, talent lists, formulae, prototypes, tools, equipment, models, specifications, technical data,
methodologies, research results, test results, financial data, contracts, agreements, correspondence, documents,
computer disks, software, computer printouts, information stored electronically, memoranda, and notes, in my
possession or control which in any way relate to the Company’s business and which are furnished to me by or on
behalf of the Company or which are prepared, compiled or acquired by me while working with or employed by the
Company shall be the sole property of the Company. I will at any time upon the request of the Company and in any
event promptly upon termination of my employment or relationship with the Company, but in any event no later
than two (2) business days after such termination, deliver all such materials to the Company and will not retain any
originals or copies of such materials, whether in hard copy form or as computerized and/or electronic records.
Except to the extent approved by the Company or required by my bona fide job duties for the Company, I also agree
that I will not copy or remove from the Company’s place of business or the place of business of a customer of the
Company, property or information belonging to the Company or the customer or entrusted to the Company or the
customer. In addition, I agree that I will not provide any such materials to any competitor of or entity seeking to
compete with the Company unless specifically approved in writing by the Company.

3. Assignment of Developments | hereby assign to the Company my entire right, title and interest in any
idea, formula, invention, discovery, design, drawing, process, method, technique, device, improvement, computer
program and related documentation, technical and non-technical data, work of authorship, trade secret, copyright,
trademark, service mark, trademark registration, application for trademark registration, and patent and patent
applications (all hereinafter called “Developments”), which I may solely or jointly conceive, write or acquire in
whole or in part during the period I am employed by or working for the Company, and for a period of six months
thereafter, and which relate in any way to the actual or anticipated business or research or development of the
Company, or which are suggested by or result from any task assigned to me or work performed by me for or on

Gen NCA (06-2018)
Case 7:19-cv-00285-GEC Document 1-1 Filed 04/05/19 Page 43 0f 54 Pageid#: 47

behalf of the Company, whether or not such Developments are made, conceived, written or acquired during normal
hours of work or using the Company’s facilities, and whether or not such Developments are patentable,
copyrightable or susceptible to other forms of protection. The term “Developments” does not apply to any
development for which no equipment, supplies, facilities or trade secret or Confidential Information of the Company
was used, and which was developed entirely on my own time unless (a) the Development relates: (i) to the actual or
anticipated business of the Company; or (ii) to the Company’s actual or demonstrably anticipated research or
development or (b) the Development results from any work performed by me for the Company. I acknowledge and
agree that any intellectual property right in any Developments and related documentation, and work of authorship,
which are created within the scope of my relationship with the Company, are owned solely by the Company.

4, Disclosure of Developments | will promptly disclose any Developments referred to in Paragraph 3 to the
management of the Company, including by following the Company’s policies and procedures in place from time to
time for that purpose, and I will, on the Company’s request, promptly execute a specific assignment of title to the
Company and such other documents as may reasonably be requested by the Company for the purpose of vesting,
confirming or securing the Company’s title to the Developments, and I will do anything else reasonably necessary,
at the Company’s sole expense, to enable the Company to secure a patent, trademark registration, copyright or other
form of protection thereof in the United States and in other countries even after the termination of my employment
or work relationship with the Company. If the Company is unable, after reasonable effort, to secure my signature or
other action, whether because of my physical or mental incapacity or for any other reason, I hereby irrevocably
designate and appoint the Company as my duly authorized agent and attorney-in-fact, to act for and on my behalf
and stead to execute any such document and take any other such action to secure the Company’s rights and title to
the Developments.

5; Identification of Developments and Third Party Obligations.

(a) I have identified below all Developments in which I have any right, title or interest, and which were
made, conceived or written wholly or in part by me prior to my employment or relationship with the Company and
which relate to the actual or anticipated business or research or development of the Company. | represent and
warrant that I am not a party to any agreements which would limit my ability to work for the Company or to assign
Developments as provided for in Paragraph 3.

 

 

 

(b) I acknowledge that the Company from time to time may have agreements with other persons or with
the United States government or agencies thereof, or other governments or governmental agencies, which impose
obligations or restrictions on the Company regarding inventions made during the course of work under such
agreements or regarding the confidential nature of such work. I agree to be bound by all such obligations and
restrictions that are made known to me and to take all action necessary to discharge the obligations of the Company
under such agreements.

6. Protection of Proprietary Interests.

(a) I agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not, directly or indirectly, on behalf of myself or any other person, company or entity, solicit or
participate in soliciting any person, company or entity to purchase or contract for products or services competitive
with or similar to products or services offered by, developed by, designed by or distributed by the Company, if that
person, company or entity was a customer or potential customer of the Company for such products or services with
which J had direct contact or about which I learned Confidential Information related to such products or services at
any time during the 24 months preceding the termination of my employment or relationship with the Company.

Gen NCA (06-2018)
* Case 7:19-cv-00285-GEC Documenti1-1 Filed 04/05/19 Page 44 0f54 Pageid#: 48

(b) | agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not, directly or indirectly, on behalf of myself or any other person, company or entity, offer, provide
or sell or participate in offering, providing or selling, products or services competitive with or similar to products or
services offered by, developed by, designed by or distributed by the Company to any person, company or entity
which was a customer or potential customer of the Company for such products or services and with which I had
direct contact regarding such products or services at any time during the 24 months preceding the termination of my
employment or relationship with the Company.

(c) I agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not directly or indirectly, on behalf of myself or in conjunction with any other person, company or
entity, own (other than less than 3% ownership in a publicly traded company), manage, operate, or participate in the
ownership, management, operation, or control of, or be employed by any person, company or entity which is in
competition with the Company, with which I would hold a position with responsibilities similar to any position I
held with the Company during the 24 months preceding the termination of my employment or relationship with the
Company or in which I would have responsibility for and access to confidential information similar or relevant to
that which | had access to during the 24 months preceding the termination of my employment or relationship with
the Company in any geographic territory over which 1 had Company responsibilities during the 24 months preceding
the termination of my employment or relationship with the Company.

(d) I agree that during my employment or relationship with the Company and for a period of 12 months
thereafter, I will not, nor will I assist any third party to, directly or indirectly (i) raid, hire, solicit, encourage or
attempt to persuade any employee or independent contractor of the Company, or any person who was an employee
or independent contractor of the Company during the 6 months preceding the termination of my employment or
relationship with the Company, who possesses or had access to Confidential Information of the Company, to leave
the employ of or terminate a relationship with the Company; (ii) interfere with the performance by any such persons
of their duties for the Company; or (iii) communicate with any such persons for the purposes described in Paragraph
6(d)(i) and (ii).

(e) | agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not, directly or indirectly, on behalf of myself or any other person, company or entity, utilize or
reveal confidential contract or relationship terms with any vendor or customer used by or served by the Company at
any time during the 24 months preceding the termination of my employment or relationship with the Company.

(f) I agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not, directly or indirectly, on behalf of myself or any other person, company or entity, interfere with
or assist any third party in interfering with, the relationship of the Company with any vendor utilized by the
Company at any time during the 24 months preceding the termination of my employment or relationship with the
Company.

(g) I agree that during my employment or relationship with the Company and for a period of 12 months
thereafter I will not directly or indirectly, on behalf of myself or any other person, company or entity, participate in
the planning, research or development of any products or services, competitive with products or services of the
Company, excluding general industry knowledge, for which I had product or service planning, research or
development responsibilities during the 24 months preceding the termination of my employment or relationship with
the Company.

(h) I agree that during my employment or relationship with the Company, and for a period of 12 months
thereafter, I will not, directly or indirectly, become employed or engaged by or affiliated with any person, company
or entity that was a vendor or customer of the Company, during the 24 months preceding the termination of my
employment or relationship with the Company, in any capacity in which I would work with or support products or
services competitive with or similar to the products, services, or support offered by, performed by, developed by or
created by me for the Company during the 24 months preceding the termination of my employment or relationship
with the Company.

(i) | agree that nothing in this Section 6 shall limit my obligations under Paragraph 1 of this Agreement.
Further, I understand and agree that during my employment or work relationship and the restricted time periods

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thereafter designated in this Agreement, while | may gather information to investigate other employment
opportunities, I understand and agree that I shall not make plans or prepare to compete, solicit or take on activities
which are in violation of this Agreement.

(j) The confidentiality obligations in this Agreement, including in Paragraph 1(b) and 6(e) do not prohibit
me from reporting violations of federal or state law or regulation to any governmental agency or from making other
disclosures that are protected under the whistleblower provisions of federal or state law or regulation, nor do the
confidentiality obligations require me to notify the Company regarding any such reporting, disclosure or cooperation
with the government.

7. Best Efforts. | agree that during my employment or relationship with the Company, I will devote my best
efforts to the performance of my duties and the advancement of the Company and shall not engage in any other
employment, profitable activities, or other pursuits which would cause me to disclose or utilize the Company’s
Confidential Information, or reflect adversely on the Company. This obligation shall include, but is not limited to,
obtaining the Company’s consent prior to performing tasks for customers of the Company outside of my customary
duties for the Company, giving speeches or writing articles, blogs, or posts, about the business of the Company,
improperly using the name of the Company or identifying my association or position with the Company in a manner
that reflects unfavorably upon the Company. I further agree that I will not use, incorporate, or otherwise create any
business entity or organization or domain name using any name confusingly similar to the name Fortive Corporation
or the name of any affiliate of Fortive or any other name under which any such entities does business.

8. Certification. 1 agree not to disclose to the Company, or use in my work for the Company, any
confidential information and/or trade secrets belonging to others, including without limitation, my prior employers,
or any prior inventions made by me and which the Company is not otherwise legally entitled to learn of or use.
Furthermore, by executing this Agreement, I certify that I am not subject to any restrictive covenants and/or
obligations that would prevent me from fully performing my duties for the Company. I also agree that after my
employment or relationship with the Company terminates, the Company may contact any employer or prospective
employer of mine to inform them of my obligations under this Agreement and that, for a period of five (5) years
after my employment or relationship with the Company terminates, I shall affirmatively provide this Agreement to
all subsequent employers.

 

9. Injunctive Relief and Attorney’s Fees. In the event of a breach or a threatened breach of this Agreement
by me, I acknowledge and agree that the Company will face irreparable injury which would be difficult to calculate
in monetary terms and for which damages would be an inadequate remedy, | agree that the Company shall be
entitled, in addition to remedies otherwise available at law or in equity, to obtain and enforce immediately temporary
restraining orders, preliminary injunctions and final injunctions without the posting of a bond enjoining such breach
or threatened breach. Should the Company successfully enforce any portion of this Agreement before a trier of fact,
the Company shall be entitled to receive and recover from me all of its reasonable attorney’s fees, litigation
expenses and costs incurred as a result of enforcing this Agreement against me.

10. Amendment, Waiver, Severability and Merger. Except as set forth in Paragraph 12 below, this

Agreement is my entire agreement with the Company with respect to the subject matter hereof, and it amends (to the
extent enforceable) all previous oral or written understandings or agreements, if any, made by or with the Company
regarding the same subject matter and can be revoked or modified only by a written agreement signed by me and the
Company. No waiver of any breach of any provision of this Agreement by the Company shall be effective unless it
is in writing and no waiver shall be construed to be a waiver of any succeeding breach or as a modification of any
provision of this Agreement. The provisions of this Agreement shall be severable and if any provision of this
Agreement is found by any court to be unenforceable, in whole or in part, the remainder of this Agreement as well
as the provisions of my prior agreement with the Company, if any, regarding the same subject matter as that which
was found unenforceable herein shall nevertheless be enforceable and binding on the parties. I also agree that the
trier of fact may modify any invalid, overbroad or unenforceable term of this Agreement so that such term, as
modified, is valid and enforceable under applicable law. Further, I acknowledge and agree that I have not, will not
and cannot rely on any representations not expressly made herein. The terms of this Agreement shall not be
amended by me or the Company except by the express written consent of the Company and me. The paragraph
headings in this Agreement are for convenience of reference and in no way define, limit or affect the meaning of this
Agreement.

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1. At-Will Employment Status. I acknowledge and agree that that nothing in this Agreement shall be
construed or is intended to create a guarantee of employment, express or implied, for any specific period of time. I
acknowledge and agree that this Agreement does not require me to continue my employment or relationship with the
Company for any particular length of time (unless otherwise agreed to in writing as an independent contractor or
consultant) and shall not be construed to require the Company to continue my employment, relationship or
compensation for any particular length of time. I acknowledge and agree that if I am employed by the Company it is
on an at-will basis which means that the Company and I each have the right to terminate the employment
relationship with or without cause or reason, with or without notice or compliance with any procedures. If am an
independent contractor or consultant for the Company, unless agreed to otherwise in writing by the Company and
me, the Company and I each have the right to terminate the relationship with or without cause or reason, with or
without notice or compliance with any procedures. 1 acknowledge and agree that my knowledge, skills and abilities
are sufficient to enable me, if my employment or relationship with the Company terminates, to earn a satisfactory
livelihood without violating this Agreement.

12. Acknowledgment of Obligations, | acknowledge that my obligations under this Agreement are in
addition to, and do not limit, any and all obligations concerning the same subject matter arising under any applicable
law including, without limitation, common law duties of loyalty and common law and statutory law relating to trade
secrets,

13, Obligations Survive Termination, 1 acknowledge and agree that the restrictions and covenants set forth
in this Agreement shall be binding upon me and survive termination of my employment or relationship with the
Company regardless of the reason(s) for such termination. 1 acknowledge and agree that the Company has an
important and legitimate business interest that it is seeking to protect with this Agreement and that enforcement of
this Agreement would not interfere with the interests of the public.

14. Cooperation, | agree to cooperate in the truthful and honest prosecution and/or defense of any third party
claim in which the Company may have an interest subject to reasonable limitations concerning time and place,
which may include without limitation making myself available to participate in any proceeding involving the
Company, allowing myself to be interviewed by representatives of the Company, appearing for depositions and
testimony without requiring a subpoena, and producing and/or providing any documents or names of other persons
with relevant information; provided that, if such services are required after the termination of my employment or
relationship with the Company, it shall provide me reasonable compensation for the time actually expended in such
endeavors and shall pay my reasonable expenses incurred at the prior and specific request of the Company.

15, Non-Disparagement. | agree that during and after my employment or relationship with the Company ends
for any reason, | wil! not make any false, disparaging or derogatory statement(s) to any media outlet, industry group,
financial institution, current or former employee, consultant, client or customer of the Company, or any other entity
or person, which are adverse to the interests, products, services or personnel of the Company or its and their
customers or vendors. I further agree that I will not take any action that may reasonably cause the Company, its
customers or its vendors embarrassment or humiliation, and I will not otherwise directly or indirectly cause the
Company, its customers or its vendors to be held in disrepute. 1 understand that the foregoing non-disparagement
provision does not apply. on occasions when I provide truthful information in good faith to any federal or state
governmental agency, entity or official investigating an alleged violation of federal or state law or regulation or
when I make other disclosures that are protected under the whistleblower provisions of federal or state law.

16, Assignment and Transfer of Employment or Relationship.. The rights and/or obligations herein may

only be assigned by the Company, may be done without my consent and shall bind and inure to the benefit of the
Company, its successors and assigns. If the Company makes any assignment of the rights and/or obligations herein
or transfers my employment or relationship within the Company, | agree that this Agreement shall remain binding
upon me. Notwithstanding the language in this Paragraph 16, in connection with and as a condition of any
assignment or transfer of my employment or relationship the Company, a successor, or assignee of the Company
shall have the right to terminate this Agreement and require me to sign a new Agreement Regarding Competition
and the Protection of Proprietary Interests.

17. Change of Position. | acknowledge and agree that any change in my position or title with the Company
shall not cause this Agreement to terminate and shall not effect any change in my obligations under this Agreement.

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18. Acceptance. | agree that this Agreement is accepted by me through my original or facsimile signature. I
further agree that the Company is deemed to have accepted this Agreement as evidenced by my employment or
relationship with the Company, the payment of wages or monies to me, the provision of benefits to me, or by
executing this Agreement.

19. Binding Effect. This Agreement, and the obligations hereunder, shall be binding upon me and my
successors, heirs, executors, and representatives and shall inure to the benefit of the Company, its successors and its
assigns.

20. Third Party Beneficiaries, This Agreement is intended to benefit each and every subsidiary, affiliate or
business unit of the Company for which I perform services, for which I have customer contact or about which I
receive Confidential Information and may be enforced by any such entity. I agree and intend to create a direct,
consequential benefit to the Company regardless of the Company entity with which I am affiliated on the last day of
my employment or relationship with the Company. ,

Agreed to by:

Fortive Corporation

ALLM2 O By: (AN Darra”

Associate Signature / Mi

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Associate’s Printed Name Print Name and Title

Date: / [ sf: 018 Date: SS

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SEPARATION AGREEMENT AND GENERAL RELEASE

You, Michael Cavalieri, and Kolimorgen Corporation (the “Company”) agree as follows:

iF Separation Date. Your employment shall terminate on Friday, January 04, 2019 (the “Separation Date”). You shall
not perform any duties, functions, or services for the Company after the Separation Date. Irrespective of whether you sign
this Separation Agreement and General Release (the “Agreemen ”), you will be paid all wages earned through the Separation
Date and shall be eligible to receive any vested benefit in accordance with the terms of the applicable benefit plan.

2. Severance Pay ang other Consideration. In exchange for your promises in this Agreement, including the general
release, if you timely sign and return this Agreement and do not thereafter revoke it as provided below, then:

(a) Severance Pay. Pursuant to the Salaried Employees Severance Pay Plan of Kollmorgen Corporation and Its
Affiliated Companies (As Amended and Restated Effective July 2, 2016) (the “Plan”), the Company shall pay you the gross
amount of Fifty Thousand Twenty Three Dollars and Eight Cents ($50,023.08) (“Severance Pay”), which represents

this Severance Pay shall be paid beginning no sooner than sixteen (16) days after you sign and return this Agreement
provided you do not revoke this Agreement pursuant to Paragraph 14 below). For purposes of this Agreement, the period
during which you are entitled under the Plan to receive Severance Pay is the “Severance Period,”

(b) Group Benefits and COBRA Subsidy,

(i) COBRA Continuation Coverage. Group medical, dental, vision, and prescription drug coverage in
which you are enrolled as of your Separation Date will continue through the end of the calendar month in which your
Separation Date occurs. Beginning on the first day of the first calendar month following your Separation Date, you and
any covered dependents shall be eligible to elect continued medical, dental, vision, and Prescription drug benefits coverage
(collectively, “group health coverage”) pursuant to the federal Consolidated Omnibus Budget Reconciliation Act
(“COBRA”), You are solely responsible for Paying the full premium costs (including a 2% administration charge) for
such COBRA continuation coverage cach month for as long as you remain eligible for and elect to receive COBRA
continuation coverage as provided by the COBRA law. If you become eligible for group health ie under any other
group health insurance plan at any time between your Separation Date and the end of the COBRA
promptly notify the Company, and the Company shall no longer be obligated to provide any group health coverage to you
or your dependents. You have a right to COBRA Coverage at your sole expense regardless of whether you sign this

(ii) COBRA Subsidy. To help defray the cost of COBRA continuation coverage during the Severance
Period, if you timely sign, return, and do not revoke this Agreement, the Company shall pay you a lump sum payment in the
gross amount of One Thousand Eight Hundred Seventeen Dollars and Seventy Six Cents ($1,817.76), which represents the
amount the Company woutd otherwise contribute toward your group health coverage premium as if you were an active employee

(c) Outplacement Assistance. The Company shall pay the costs of outplacement assistance provided by a third-
party outplacement firm, subject to arrangements made by the Company in its sole discretion.

(d) ICP Bonus. While you are not entitled to any ICP bonus for 2018, as additional consideration, the Company will pay you
a sum to represent a full year ICP bonus for 2018 using a Personal Performance Factor of 1.0 and a Company Performance
Factor of 1.0, This bonus payment in the amount a: Forty Six Thousand Two Hundred Fifty Dollars and No Cents ($46,250)
will be subject to and less all applicable taxes and withholding and shall be paid within the first 30 days in January 2019 after
you sign and return this Agreement provided you do not revoke this Agreement pursuant to Paragraph 14 below.

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3. General Release, (a) In exchange for the Severance Pay, benefits, and other consideration provided in this Agreement,
which yeu would not be entitled to receive apart from this Agreement, you unconditionally release and forever discharge
the Company, and its af; filiates, parents, subsidiaries, related companies, successors, predecessors, and assigns, and each of
its and their respective officers, directors, partners, shareholders, employees, Consultants, agents, representatives, and
attorneys, pasi and present, (coll ectively referenced herein as “Releasees”), from any and all claims, demands, actions, suits,
causes of action, obligations, damages and liabilities of any kind, based on any act, omission, occurrence, or nonoccurrence
from the beginning of time to the date you sign this Agreement, including but not limited to claims that arise out of ar in
any way relate to your hiring, employment and/or separation from employment with the Company. You agree that this
general release includes but is not limited to: claims for salary, bonuses, compensation, severance Pay (except as specified
in this Agreement), wages, penalties, premiums, vacation pay, or any benefits under the Employee Retirement Income
Security Act of 1974, as amended; claims for breach of implied or express employment contracts or covenants, defamation,
wrongful separation, public policy violations, emotional distress and related Matters, attorney's fees, discrimination or
harassment under federal, state or local laws; and claims based on any federal, state of other statute, regulation or ordinance,
including but not limited to Title VII of the Civil Rights Act of 1964, as amended, the Civil Rights Act of 1991, the Age
Discrimination in Employment Act of 1967 (“ADEA”), as amended by the Older Workers Benefit Protection Act, the
Americans With Disabilities Act, the Family and Medical Leave Act, and the Worker Adjustment and Retraining
Notification Act. You expressly acknowledge that this Agreement resolves all legal claims you may have against the
Company and the Releasees as of the date you sign this Agreement, including but not limited to claims that you did not
know or suspect to exist in your favor at the time you sign this Agreement,

Excluded from the general release above are any claims or rights which cannot be waived by law, including but not
limited to, claims arising after the date you sign this Agreement and the right to file a charge of discrimination with, or
participate in an investigation conducted by. a government agency such as the U.S. Equal Employment Opportunity
Commission (“EEOC”). You understand and agree, however, that you are waiving your right to recover money or other
relief in connection with such a charge, whether filed by you or any other individual or entity. You and the Company
otherwise intend the general release above to be general and comprehensive in nature and to release all claims and potential
claims by. you to the maximum extent permitted by law.

(b) State and Local Waivers. If you work or reside in California, Montana, North Dakota, or South Dakota, you
expressly waive the benefit of Section 1542 of the California Civil Code, Montana Code Annotated, Section 28-1-1602,
North Dakota Century Cade, Section 9-13-02, and South Dakota Codified Laws, Section 20-7-] 1, respectively, and agree
that the general release in this Paragraph 3 covers claims arising prior to the date you sign this Agueninh which you do not
know or expect to exist in your favor at this time. The cited Statutes provide: “A general release does not extend to claims
which the creditor does not know or Suspect to exist in his favor at the time of executing the release, which if known by him
must have materially affected his settlement with the debtor,”

If you work or reside in New Jersey, you expressly waive all claims under the Conscientious Employee Protection
Act.

If you work or reside in West Virginia, you expressly waive all claims under the West Virginia Human Rights Act.
The toll free number for the West Virginia Bar Association is 1-866-989-8227,

If you work or reside in the District of Columbia, you expressly waive all claims under the District of Columbia
Human Rights Act.

If you work or reside in Massachusetts, you expressly waive all claims under the Massachusetts Wage Act (G.L. c.
149, §148 ef seq.).

4. Covenant Not to Sue. You represent and warrant that you have not filed or otherwise initiated any lawsuit, arbitration
proceeding, or other action in any forum with any court or entity or forum relating to any claims released by you under this

enforce this Agreement. If you violate this paragraph, you shall pay all legal expenses and costs, including reasonable
attorney’s fees, incurred by any Releasee in defending against your suit. Alternatively, if you violate this paragraph, the
Company at its option, may require you to return all monies and other benefits and consideration provided to you under this

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Agreement, except for $1,000. In that event, the Company shall be excused from making any further payments, continuing
any other benefits, or providing other consideration otherwise owed under this Agreement.

5. Restrictive Covenants.

a. Continuing Obligations. You acknowledge and re-affirm your continuing obligations under any non-disclosure,
confidentiality, intellectual property, non-solicitation and/or noncompetition agreement you previously signed
pertaining to the Company’s interests, which agreement is hereby incorporated and made a part of this Agreement
as Attachment A (if any). Notwithstanding the above, you agree you had access to a variety of trade secret and/or
confidential and proprietary information relating to the Company’s business, including but not limited to:
competitive analyses; product costs; manufacturing costs; pricing information; business forecast information; sales
information; profit information; accounting information; tax information; financial information and plans;
acquisition and divestiture information and Strategies; business strategies; product improvements and strategies;
service improvements and strategies; marketing improvements and strategies; sales improvements and Strategies;
customer information; current product applications; marketing plans and sales plans; technical processes and
techniques; administrative information including management organizational information; (all of which information
in this Subparagraph $(b) is collectively referenced as “Confidential Information”). You acknowledge and agree
that such Confidential Information is Company property and you shall not, directly or indirectly, use or disclose it
for your own or a third party’s benefit. Nothing in this Section 5(b) or in this Agreement or in any prior agreement
you may have entered into with the Company (including obligations contained in an agreement attached to this
Agreement as Attachment A) prohibits you from reporting possible violations of federal or state law or regulation
fo any governmental agency or entity or making other disclosures that are protected under the whistleblower
provisions of federal or state law or regulation, nor are you required to notify the Company regarding any such
teporting, disclosure or cooperation with the government.

(c) For twelve (12) months after your Separation Date, you agree that you will not, directly or indirectly, attempt
to hire, engage the services of, or employ in any manner any person who was an executive, management, sales and
marketing, operations, research and development, or employee or independent contractor of the Company or its affiliates in
the six (6) months preceding your Separation Date and who possesses or had access to Confidential Information. You agree
not To encourage or attempt to persuade any employee or independent contractor of the Company to (i) leave the employ ment
of or terminate a relationship with the Company; (ii) interfere with any such individual’s performance of their duties for the
Company; or (iii) communicate with any such individuals for the purposes described in this Subparagraph 5(c).

6. Return of Company Property. You agree to return to the Company in good working order and no later than your
Separation Date all keys, files, records (and copies thereof), equipment (including but not limited to computer hardware,
software and printers, wireless handheld devices, cellular phones, SIM cards, external media devices and pagers}, Company
identification, Company vehicles, Company confidential and proprietary information, and any other Company-owned
property in your possession or control. You represent and agree that you have left and will leave intact all electronic
Company documents, including, but not limited to any that you developed or helped to develop during your employment.
You further represent and warrant that you have returned any and all Company proprietary, trade secret and confidential
information, whether in hard copy or electronic form and that you have cancelled any accounts for your benefit in the
Company's name, including but not limited to credit cards, telephone charge cards, cellular phone and/or pager accounts.

7. Non-Disparagement. You agree that as a condition of the Severance Pay, benefits and other consideration provided in
this Agreement, you shall not make any false, disparaging or derogatory statements to any media outlet, industry group,
financial institution, current or former employee, consultant, client or customer of the Company or any other entity or third
person regarding the Company or any other Releasee about the business affairs or financial condition of the Company or
any other Releasee. You understand that the foregoing non-disparagement provision does not apply on occasions when you
provide truthful information in good faith to a federal or state governmental agency, entity or official investigating an alleged
violation of federal or state law or regulation or when you make other disclosures that are protected under the whistleblower
provisions of federal or state law.

8. Limitations / Re-employment. Except as set forth in this Agreement, you are not entitled to any other post-termination
Pay. severance benefits or other consideration. You promise and agree not to seek employment in the future with the

Company or any other Releasee. You agree that the Releasees have no obligation to reemploy you or offer you employment

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in the future and that you shall have no recourse against any Releasce if that Releasce refuses to employ you or offer you
employment. Notwithstanding the foregoing, any Releasee may offer to re-employ you in the future if, in its sole dis¢retion,
it chooses to do so. You acknowledge that if you become employed by the Company or any of its subsidiaries or affiliates
during the Severance Period, all of the pay, benefits and other consideration provided in Paragraph 2 shall cease, and in the
case of equity, any such awards, be governed by the applicable stock plan and award agreement.

9. On the Job Injury. You represent that you have no job-related illness or injury for which you have not already filed a
claim.

10. Validity. Should a court of competent jurisdiction determine that any provision of this Agreement is invalid, that
provision shall be severed and the rest of this Agreement shall remain in effect.

EL, Confidential Separation Information. You agree that as a condition of your receiving Severance Pay, benefits and
other consideration under: this Agreement, the fact, terms and contents of this Agreement and the contents of ail
communications resulting in this Agreement shall be kept confidential by you and your agents, representatives and family
members, and shall not be disclosed except to the extent required by law or as otherwise agreed to in writing by an authorized
representative of the Company. |

12. Consequences of Breach. You acknowledge the Company’s right to enforce the above Paragraphs 5 (Restrictive
Covenants), 7 (Non-Disparagement), and 11 (Confidential Separation Information) in any court of competent jurisdiction.
You further agree that if you breach any of these provisions, the Company will be irreparably harmed as a matter of law
and will be entitled to seek immediate injunctive relief, plus its reasonable attorn ey’s fees incurred in enforcing the provision
breached,

13. Non-Admission of Liability. You agree that this Agreement does not admit liability or wrongdoing on the part of the
Company or any other Releasee.

14. Acknowledgments. You acknowledge that you have been given at least fourteen (14) days to consider this Agreement
and that, with this Agreement, the Company has advised you in writing to consult an attorney of your choice before signing
this Agreement. You further acknowledge that the Company is provid ing you payments, benefits, and other consideration
under this Agreement in reliance on your representations and promises herein, including the general release in Paragraph 3
above. You understand that you may sign this Agreement at any time within the 14-day period, but in nojevent earlier than
your Separation Date. The offer of Severance Pay, benefits, and other consideration set forth in this Agreement will expire
when the 14-day period ends, if this Agreement is not accepted and returned by you during that period to Jeffrey Lemons;
Kollmorgen Corporation 201 West Rock Road, Radford, VA 24141 email: jeff.lemons@kollmorgen.com; telephone
number: 540-633-3520. if you live or work in Minnesota then: (i) you understand that you have the right to revoke this
Agreement after signing it by sending written notice of revocation to the Company’s representative and at the contact
information identified above no later than fifteen (15) days after you sign this Agreement; and (ii) you acknowledge that
this Agreement shall not be effective or enforceable until the 15 -day revocation period expires.

15. Knowi Vv Release. You agree that you are signing this Agreement voluntarily and of your own free

will and not because of any threats or duress. You affirm that no promises or agreements of any kind (other than those in
this Agreement) have been made to or with you by any person or entity whatsoever that would cause you to sign this
Agreement. You have had an opportunity to discuss fully and review the terms of this Agreement with an attorney of your
choice. You agree that you have carefully read this Agreement and understand its contents, freely and voluntarily assent to
all terms and conditions contained in this Agreement, sign your name of your own free will, and intend to be legally bound
by this Agreement.

16. Cooperation. During your remaining employment with the Company and after the termination of your employment,
with reasonable notice, you agree to cooperate with the Company and to respond to reasonable inquiries and requests for
information by the Company in connection with any legal matters in which you are involved or may become involved
relating to matters arising during your employment with the Company, including any legal matters in which you may
potentially be called as a witness for the Company. Your agreement to cooperate with and to provide responses to such
reasonable inquiries and requests for information does not create any employment relationship between you and the
Company. The Company agrees to cooperate with you to minimize any disruption to you caused by your cooperation with
the Company pursuant to this Paragraph 16.
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17. Applicable Law. This Agreement shall be interpreted under the laws of Virginia without regard to conflict of laws
provisions. You hereby irrevocably submit to and recognize the jurisdiction of that state's courts-(or if, appropriate, a
federal court located in that state) over any suit, action or other proceeding arising out of, under or in connection with this

Agreement or any subject addressed in this Agreement. For purposes of this Agreement, you agree that those courts are the
only courts of competent jurisdiction,

18. Entire Agreement. This Agreement, including any Attachment A, constitutes the entire understanding and
agreement between the parties pertaining to subjects addressed in this Agreement and cancels all previous oral and written
agreements and commitments connected to those subjects. This Agreement may not be modified in any manner, except
by written amendment signed by duly authorized representatives of both parties, This Agreement is binding upon and
Shall inure to the benefit of the parties and their respective agents, assigns, heirs, executors, successors and administrators.

[Signature biock on following page.|

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BY SIGNING THIS SEPARATION AGREEMENT AND GENERAL RELEASE, YOU REPRESENT AND
WARRANT THAT:

(1) YOU HAVE READ THIS AGREEMENT;

(2) YOU UNDERSTAND THAT YOU ARE GIVING UP CERTAIN RIGHTS;

(3) YOU AGREE WITH THE TERMS IN THIS AGREEMENT;

(4) YOU HAVE BEEN ADVISED TO, AND ARE AWARE OF YOUR RIGHT TO CONSULT AN

ATTORNEY OF YOUR CHOOSING BEFORE SIGNING THIS AGREEMENT; AND
(5) YOU HAVE SIGNED THIS AGREEMENT KNOWINGLY AND VOLUNTARILY.

 

 

 

 

 

ASSOCIATE COMPANY
Kollmorgen Corporation

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